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THE ENERGY CHARTER TREATY

LE TRAITE SUR LA CHARTE DE L'ENERGIE

VERTRAG UBER DIE ENERGIECHARTA

TRATTATO SULLA CARTA DELL'ENERGIA

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EL TRATADO SOBRE LA CARTA DE LA ENERGIA

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EUROPEAN ENERGY CHARTER CONFERENCE

THE ENERGY CHARTER TREATY

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THE ENERGY CHARTER TREATY

PREAMBLE

The Contracting Parties to this Treaty,

Having regard to the Charter of Paris for a New Europe signed on 21 November 1990;

Having regard to the European Energy Charter adopted in the Concluding Document of the
Hague Conference on the European Energy Charter signed at The Hague an
17 December 1991;

Recalling that all signatories to the Concluding Document of the Hague Conference
undertook to pursue the objectives and principles of the European Energy Charter and
implement and broaden their cooperation as soon as possible by negotiating in good faith
an Energy Charter Treaty and Protocols, and desiring to place the commitments contained

in that Charter on a secure and binding international legal basis;

Desiring also to establish the structural framework required to implement the principles

enunciated in the European Energy Charter;

Wishing to implement the basic concept of the European Energy Charter initiative which is

to catalyse economic growth by means of measures to liberalize investment and trade in

energy:

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Affirming that Contracting Parties attach the utmost importance to the effective
implementation of full national treatment and most favoured nation treatment, and that
these commitments will be applied to the Making of investments pursuant to a

supplementary treaty;

Having regard to the objective of progressive liberalization of international trade and to the
principle of avoidance of discrimination in international trade as enunciated in the Genera!
Agreement on Tariffs and Trade and its Related Instruments and as otherwise Provided for

in this Treaty:

Determined progressively to remove technical, administrative and other barriers to trade in

Energy Materials and Products and related equipment, technologies and services;

Looking to the eventual membership in the General Agreement on Tariffs and Trade of
those Contracting Parties which are not currently parties thereto and concerned to provide
interim trade arrangements which will assist those Contracting Parties and not impede

their preparation for such membership;

Mindful of the rights and obligations of certain Contracting Parties which are also parties

to the General Agreement on Tariffs and Trade and its Related Instruments:

Having regard to competition rules concerning mergers, monopolies, anti-competitive

Practices and abuse of dominant position ;
Having regard also to the Treaty on the Non-Proliferation of Nuclear Weapons, the Nuclear

Suppliers Guidelines and other international nuclear non-proliferation obligations or

understandings;

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Recognizing the necessity for the most efficient exploration, production, conversion,

storage, transport, distribution and use of energy;

Recalling the United Nations Framework Convention on Climate Change, the Convention
on Long-Range Transboundary Air Pollution and its protocols, and other international
environmental agreements with energy-related aspects; and

Recognizing the increasingly urgent need for measures to protect the environment,
including the decommissioning of energy installations and waste disposal, and for
internationally-agreed objectives and criteria far these purposes,

HAVE AGREED AS FOLLOWS:

PART |

DEFINITIONS AND PURPOSE

ARTICLE 14

DEFINITIONS

As used in this Treaty:

(1) "Charter" means the European Energy Charter adopted in the Concluding Document

of the Hague Conference on the European Energy Charter signed at The Hague on 17

December 1991; signature of the Concluding Document is considered to be signature

of the Charter.

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"Contracting Party" means a state or Regional Economic Integration Organization

which has consented to be bound by this Treaty and for which the Treaty is in force.

"Regional Econamic integration Organization" means an organization constituted by
States to which they have transferred competence over certain matters a number of
which are governed by this Treaty, including the authority to take decisions binding

an them in respect of those matters.

"Energy Materials and Products”, based on the Harmonized System of the Customs
Cooperation Council and the Combined Nomenclature of the European Communities,

means the items included in Annex EM.

“Economic Activity in the Energy Sector” means an economic activity concerning the
exploration, extraction, refining, production, storage, land transport, transmission,
distribution, trade, marketing, or sale of Energy Materials and Products except those

included in Annex NI, or concerning the distribution of heat to multiple premises.

“Investment” means every kind of asset, owned or controlled directly or indirectly by

an Investor and includes:

(a) tangible and intangible, and movable and immovable, property, and any

property rights such as leases, mortgages, liens, and pledges;

a company or business enterprise, or shares, stock, or other forms of equity

participation in a company or business enterprise, and bonds and other debt of

a company or business enterprise;

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claims to money and claims to performance pursuant to contract having an

economic value and associated with an Investment,

Intellectual Property;

Returns;

any right conferred by law or contract or by virtue of any licences and permits
granted pursuant to law to undertake any Economic Activity in the Energy

Sector,

A change in the form in which assets are invested does not affect their character as
investments and the term "Investment" includes all investments, whether existing at
or made after the later of the date of entry into force of this Treaty for the
Contracting Party of the Investor making the investment and that for the Contracting
Party in the Area of which the investment is made (hereinafter referred to as the
“Effective Date") provided that the Treaty shall only apply to matters affecting such

investments after the Effective Date.

“Investment” refers to any investment associated with an Economic Activity in the

Energy Sector and to investments or classes of investments designated by a

Contracting Party in its Area as “Charter efficiency projects” and so notified to the

Secretariat.

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(7) “Investor” means:
{a) with respect to a Contracting Party:
(i} a natural person having the citizenship or nationality of or who is
permanently residing in that Contracting Party in accordance with its

applicable law;

a company or ather organization organized in accordance with the law

applicable in that Contracting Party;

with respect to a “third state", a natural person, company or other organization

which fulfils, mutatis mutandis, the conditions specified in subparagraph (a) for

a Contracting Party.

“Make Investments" or “Making of Investments" means establishing new
Investments, acquiring all or part of existing Investments or moving into different

fields of Investment activity.

“Returns” means the amounts derived from or associated with an Investment,
ivespective of the form in which they are paid, including profits, dividends, interest,
capital gains, royalty payments, Management, technical assistance or other fees and

payments in kind.

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on (10) "Area" means with respect to a state that is a Contracting Party:

(a) the territory under its sovereignty, it being understood that territory includes

land, internal waters and the territorial sea; and

subject to and in accordance with the international law of the sea: the sea,
sea-bed and its subsoil with regard to which that Contracting Party exercises

sovereign rights and jurisdiction.

With respect to a Regional Economic {Integration Organization which is a Contracting
Party, Area means the Areas of the member states of such Organization, under the

provisions contained in the agreement establishing that Organization.

(a) “GATT means "GATT 1947" or "GATT 1994", or both of them where both

are applicable.

"GATT 1947" means the General Agreement on Tariffs and Trade, dated

30 October 1947, annexed to the Final Act Adopted at the Conclusion of the
Second Session of the Preparatory Committee of the United Nations
Conference on Trade and Employment, as subsequently rectified, amended or

modified.

"GATT 1994" means the General Agreement on Tariffs and Trade as specified

in Annex 1A of the Agreement Establishing the World Trade Organization, as

subsequently rectified, amended or modified.

A party to the Agreement Establishing the World Trade Organization is
considered to be a party to GATT 1994.

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(d) "Related Instruments” means, as appropriate:

(i) | agreements, arrangements or other legal instruments, including decisions,
declarations and understandings, concluded under the auspices of

GATT 1947 as subsequently rectified, amended or modified; or

the Agreement Establishing the World Trade Organization including Its
Annex 1 (except GATT 1994), its Annexes 2, 3 and 4, and the decisions,
declarations and understandings related thereto, as subsequently rectified,

amended or modified.

(12) "Intellectual Property” includes copyrights and related rights, trademarks,
geographical indications, industrial designs, patents, layout designs of integrated

circuits and the protection of undisclosed information.

(13) (a) "Energy Charter Protocol" or “Protacol” means a treaty, the negotiation of
which is authorized and the text of which is adopted by the Charter
Conference, which is entered into by two or more Contracting Parties in order
to complement, supplement, extend or amplify the provisions of this Treaty
with respect to any specific sector or category of activity within the scope of

this Treaty, or to areas of cooperation pursuant to Title I!I of the Charter.

“Energy Charter Declaration" or “Declaration” means a non-binding instrument,

the negotiation of which is authorized and the text of which is approved by the

Charter Conference, which is entered into by two or more Contracting Parties

to camplement or supplement the provisians of this Treaty.

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{14) "Freely Convertible Currency" means a currency which is widely traded in

international foreign exchange markets and widely used in international transactions.

ARTICLE 2

PURPOSE OF THE TREATY

This Treaty establishes a legal framework in order to promote long-term cooperation in the

energy field, based on complementarities and mutual benefits, in accordance with the

objectives and principles of the Charter.

PART II

COMMERCE

ARTICLE 3

INTERNATIONAL MARKETS

The Contracting Parties shall wark to promote access to international markets on

commercial terms, and generally to develop an open and competitive market, for Energy

Materials and Products.

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ARTICLE 4

NON-DEROGATION FROM GATT AND RELATED INSTRUMENTS

Nothing in this Treaty shall derogate, as between particular Contracting Parties which are

parties to the GATT, from the pravisions of the GATT and Related Instruments as they are

applied between those Contracting Parties.

ARTICLE 5

TRADE-RELATED INVESTMENT MEASURES

A Contracting Party shall not apply any trade-related investment measure that is
inconsistent with the provisions of article Ill or XI of the GATT; this shall be without
prejudice to the Contracting Party’s rights and obligations under the GATT and

Related Instruments and Article 29.

Such measures include any investment measure which is mandatory or enforceable
under domestic law or under any administrative ruling, or compliance with which is

necessary to obtain an advantage, and which requires:

fa) the purchase or use by an enterprise of products of domestic origin or from any
domestic source, whether specified in terms of particular products, in terms of
volume or value of products, or in terms of a proportion of volume or value of

its local production; or

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(b) that an enterprise’s purchase or use of imported products be limited to an

amount related to the volume or value of local products that it exports;

or which restricts:

(c) the importation by an enterprise of products used in or related to its local
production, generally or to an amount related to the volume or value of local

production that it exports;

the importation by an enterprise of products used in or related to its local
production by restricting its eccess to foreign exchange to an amount related to

the foreign exchange inflows attributable to the enterprise; or

the exportation or sale for export by an enterprise of products, whether
specified in terms of particular products, in terms of valume or value of

products, or in terms of a proportion of volume or value of its local production.

Nothing in paragraph (1) shall be construed to prevent a Contracting Party fram
applying the trade-related investment measures described in subparagraphs (2)(a)
and (c} as a condition of eligibility For export promotion, foreign aid, government

procurement or preferential tariff or quota programmes.

Notwithstanding paragraph (1), a Contracting Party may temporarily continue to

maintain trade-related investment measures which were in effect more than
180 days before its signature of this Treaty, subject to the notification and phase-out

provisions set out in Annex TRM.

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ARTICLE 6

COMPETITION

Each Contracting Party shall work to alleviate market distortions and barriers to

competition in Economie Activity in the Energy Sector.

Each Contracting Party shall ensure that within its jurisdiction it has and enforces
such laws as are necessary and appropriate to address unilateral and concerted

anti-competitive conduct in Economic Activity in the Energy Sector.

Contracting Parties with experience in applying competition rules shall give full
consideration to providing, upon request and within available resources, technical
assistance on the development and implementation of competition rules to other

Contracting Parties.

Contracting Parties may cooperate in the enforcement of their competition rules by

consulting and exchanging information.

\¥ a Contracting Party considers that any specified anti-competitive conduct carried
out within the Area of another Contracting Party Is adversely affecting an important
interest relevant to the purposes identified in this Article, the Contracting Party may

notify the other Contracting Party and may request that its competition authorities

initiate appropriate enforcement action. The notifying Contracting Party shall include

in such notification sufficient information to permit the notified Contracting Party to
identify the anti-competitive conduct that is the subject of the notification and shall

include an offer of such further information and cooperation as the notifying

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Contracting Party is able to provide. The notified Contracting Party or, as the case
may be, the relevant competition authorities may consult with the competition
authorities of the notifying Contracting Party and shall accord full consideration to
the request of the notifying Contracting Party in deciding whether or not to initiate
enforcement action with respect to the alleged anti-competitive conduct identified in
the notification. The notified Contracting Party shall inform the notifying Contracting
Party of its decision or the decision of the relevant competition authorities and may if
it wishes inform the notifying Contracting Party of the grounds for the decision. If
enforcement action is initiated, the notified Contracting Party shall advise the
notifying Contracting Party of its outcome and, to the extent possible, of any

significant interim development.
Nothing in this Article shall require the provision of information by a Contracting
Party contrary to its laws regarding disclosure of information, confidentiality or
business secrecy.
The procedures set forth in paragraph (5) and Article 27(1) shall be the exclusive
means within this Treaty of resolving any disputes that may arise over the
implementation or interpretation of this Article.

ARTICLE 7

TRANSIT

Each Contracting Party shall take the necessary measures to facilitate the Transit of

Energy Materials and Products consistent with the principle of freedom of transit and

without distinction as to the origin, destination or ownership of such Energy
Materials and Products or discrimination as to pricing on the basis of such

distinctions, and without imposing any unreasonable delays, restrictions or charges.

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Contracting Parties shall encourage relevant entities to cooperate in:

(a) modernizing Energy Transport Facilities necessary to the Transit of Energy

Materials and Products;

the development and operation of Energy Transport Facilities serving the Areas

of more than one Contracting Party;

measures to mitigate the effects af interruptions in the supply of Energy

Materials and Products:

(d) facilitating the interconnection of Energy Transport Facilities.

Each Contracting Party undertakes that its provisions relating to transport of Energy
Materials and Products and the use of Energy Transport Facilities shall treat Energy
Materials and Products in Transit in no less favourable a manner than its provisions
treat such materials and praducts originating in or destined for its own Area, unless

an existing international agreement provides otherwise.

In the event that Transit of Energy Materials and Products cannot be achieved on

commercial terms by means of Energy Transport Facilities the Contracting Parties

shal] not place obstacles in the way of new capacity being established, except as
may be otherwise provided in applicable legislation which is consistent with

Paragraph (1).

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A Contracting Party through whose Area Energy Materials and Products may transit

shall not be obliged to

(a) permit the construction or modification of Energy Transport Facilities; or

(b} permit new or additional Transit through existing Energy Transport Facilities,

which it demonstrates to the other Contracting Parties concerned would endanger

the security or efficiency of its energy systems, including the security of supply.

Contracting Parties shall, subject to paragraphs (6) and (7), secure established flows
of Energy Materials and Products to, from or between the Areas of other Contracting

Parties.

A Contracting Party through whose Area Energy Materials and Products transit shall
not, in the event of a dispute over any matter arising from that Transit, interrupt or
reduce, permit any entity subject to its control to interrupt or reduce, or require any
entity subject to its jurisdiction to interrupt ar reduce the existing flow of Energy
Materials and Products prior to the conclusion of the dispute resolution procedures

set out in paragraph (7), except where this is specifically provided for in a contract or

other agreement governing such Transit or permitted in accordance with the

conciliator’s decision.

The following provisions shall apply to a dispute described in paragraph (6), but only
following the exhaustion of all relevant contractual or other dispute resolution
remedies previously agreed between the Contracting Parties party to the dispute or
between any entity referred to in paragraph (6) and an entity of another Contracting

Party party to the dispute:

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A Contracting Party party to the dispute may refer it to the Secretary-General
by a notification summarizing the matters in dispute. The Secretary-General

shall notify all Contracting Parties of any such referral.

Within 30 days of receipt of such a notification, the Secretary-General, in
consultation with the parties to the dispute and the other Contracting Parties
concerned, shall appoint a conciliator. Such a conciliator shall have experience
in the matters subject to dispute and shall not be a national or citizen of or
permanently resident in a party to the dispute or one of the other Contracting

Parties concerned.

The conciliator shall seek the agreement of the parties to the dispute to a

resolution thereof or upon a procedure to achieve such resolution. [f within
90 days of his appointment he has failed to secure such agreement, he shall
recommend a resolution to the dispute or a procedure to achieve such
resolution and shall decide the interim tariffs and other terms and conditions to
be observed for Transit from a date which he shall specify until the dispute is

resolved.

The Contracting Parties undertake to observe and ensure that the entities under
their control or jurisdiction observe any interim decision under subparagraph (c)
on tariffs, terms and conditions for 12 months following the conciliator’s

decision or until resolution of the dispute, whichever is earlier.

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Notwithstanding subparagraph (b) the Secretary-General may elect not to
appoint a conciliator if in his judgement the dispute concerns Transit that is or
has been the subject of the dispute resolution procedures set out in
subparagraphs (a) to (d) and those proceedings have not resulted in a resolution

of the dispute.

The Charter Conference shall adopt standard provisions concerning the conduct

of conciliation and the compensation of conciliators.

Nothing in this Article shall derogate from a Contracting Party’s rights and obligations

under international law including customary international law, existing bilateral or

multilateral agreements, including rules concerning submarine cables and pipelines.

This Article shall not be so interpreted as to oblige any Contracting Party which does
not have a certain type of Energy Transport Facilities used for Transit to take any
measure under this Article with respect to that type of Energy Transport Facilities.

Such a Contracting Party is, however, obliged to comply with paragraph (4).
For the purposes of this Article:
(a) "Transit" means
(i) the carriage through the Area of a Contracting Party, or to or from port
facilities in its Area for loading or unloading, of Energy Materials and
Products originating in the Area of another state and destined for the Area

of a third state, so long as either the other state or the third state is a

Contracting Party; or

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the carriage through the Area of a Contracting Party of Energy Materials

and Products originating in the Area of another Contracting Party and
destined for the Area of that other Contracting Party, unless the two
Contracting Parties concerned decide otherwise and record their decision
by a joint entry in Annex N. The two Contracting Parties may delete their
listing in Annex N by delivering a joint written notification of their
intentions to the Secretariat, which shall transmit that notification to all
other Contracting Parties. The deletion shall take effect four weeks after

such former notification.

"Energy Transport Facilities” consist of high-pressure gas transmission
pipelines, high-voltage electricity transmission grids and lines, crude oil
transmission pipelines, coal slurry pipelines, oil product pipelines, and other

fixed facilities specifically for handling Energy Materials and Products.

ARTICLE 8

TRANSFER OF TECHNOLOGY

The Contracting Parties agree to promote access to and transfer of energy
technology on a commercial and non-discriminatory basis to assist effective trade in
Energy Materials and Products and Investment and to implement the objectives of
the Charter subject to their laws and regulations, and to the protection of Intellectual

Property rights.

Accordingly, to the extent necessary ta give effect to paragraph (1) the Contracting
Parties shali eliminate existing and create no new obstacles to the transfer of
technology in the field of Energy Materials and Products and related equipment and

services, subject to non-proliferation and other international obligations.

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ARTICLE 9

ACCESS TO CAPITAL

The Contracting Parties acknowledge the importance of open capital markats in

encouraging the flow of capital to finance trade in Energy Materials and Products and
for the making of and assisting with regard to Investments in Economic Activity in
the Energy Sector in the Areas of other Contracting Parties, particularly those with
economies in transition. Each Contracting Party shall accordingly endeavour to
promote conditions for access to its capital market by companies and nationals of
other Contracting Parties, for the purpose of financing trade in Energy Materials and
Products and for the purpose of Investment in Economic Activity in the Energy
Sector in the Areas of those other Contracting Parties, on a basis no less favourable
than that which it accords in like circumstances to its own companies and nationals
or companies and nationals of any other Contracting Party or any third state,

whichever is the most favourable.

A Contracting Party may adopt and maintain programmes providing for access ta
public loans, grants, guarantees or insurance for facilitating trade or investment
abroad. !t shall make such facilities available, consistent with the objectives,
constraints and criteria of such programmes (including any objectives, constraints or
criteria relating to the place of business of an applicant for any such facility or the
place of delivery of goods or services supplied with the support of any such facility}
for Investments in the Economic Activity in the Energy Sector of other Contracting
Parties or for financing trade in Energy Materials and Products with other Contracting

Parties.

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(3) Contracting Parties shall, in implementing programmes in Economic Activity in the

Energy Sector to improve the economic stability and investment climates of the

Contracting Parties, seek as appropriate to encourage the operations and take

advantage of the expertise of relevant international financial institutions.

Nothing in this Article shall prevent:

(a) financial institutions from applying their own lending or underwriting practices

based on market principles and prudential considerations; or

a Contracting Party from taking measures:

(i)

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for prudential reasons, including the protection of Investors, consumers,
depositors, policy-holders or persons to whom a fiduciary duty is owed by

a financial service supplier; or

to ensure the integrity and stability of its financial system and capital

markets.

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PART Ul

INVESTMENT PROMOTION AND PROTECTION

ARTICLE 10

PROMOTION, PROTECTION AND TREATMENT OF INVESTMENTS

Each Contracting Party shall, in accordance with the provisions of this Treaty,
encourage and create stable, equitable, favourable and transparent canditions for
Investors of other Contracting Parties to Make Investments in its Area. Such
conditions shall include a commitment to accord at all times to Investments of
Investors of other Contracting Parties fair and equitable treatment. Such
Investments shall also enjoy the most constant protection and security and no
Contracting Party shall in any way impair by unreasonable or discriminatory measures
their management, maintenance, use, enjoyment or disposal. In no case shall such
Investments be accorded treatment less favourable than that required by international

law, including treaty obligations. Each Contracting Party shall observe any

obligations it has entered into with an Investor or an Investment of an Investor of

any other Contracting Party.
Each Contracting Party shall endeavour to accord to Investors of other Contracting

Parties, as regards the Making of Investments in its Area, the Treatment described in

paragraph (3).

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(3) For the purposes of this Article, “Treatment” means treatment accarded by a
Contracting Party which is no less favourable than that which it accords to its own
Investors or to Investors of any other Contracting Party or any third state, whichever

is the most favourable,

A supplementary treaty shall, subject to conditions to be laid down therein, oblige
each party thereto to accord to Investors of other parties, as regards the Making of
Investments in its Area, the Treatment described in paragraph (3). That treaty shall
be open for signature by the states and Regional Economic Integration Organizations
which have signed or acceded to this Treaty. Negotiations towards the
supplementary treaty shail commence not later than 1 January 1995, with a view to

concluding it by 1 January 1998.

Each Contracting Party shall, as regards the Making of Investments in its Area,

endeavour to:

(a) limit to the minimum the exceptions to the Treatment described in

paragraph (3);

progressively remove existing restrictions affecting Investors of other

Contracting Parties.

A Contracting Party may, as regards the Making of Investments in its Area, at

any time declare voluntarily to the Charter Conference, through the Secretariat,
its intention not to introduce new exceptions to the Treatment described in

paragraph (3).

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A Contracting Party may, furthermore, at any time make a voluntary
commitment to accord to Investors of other Contracting Parties, as regards the
Making of Investments in some or all Economic Activities in the Energy Sector
in its Area, the Treatment described in paragraph (3). Such commitments shall
be notified to the Secretariat and listed in Annex VC and shall be binding under
this Treaty.

Each Contracting Party shall accord to Investments in its Area of Investors of other
Contracting Parties, and their related activities including management, maintenance,
use, enjoyment or disposal, treatment no less favourable than that which it accords
to Investments of its own Investors or of the [Investors of any other Contracting
Party or any third state and their related activities including management,

maintenance, use, enjoyment or disposal, whichever is the most favourable.

The modalities of application of paragraph (7) in retation to programmes under which
a Contracting Party provides grants or other financial assistance, or enters into
contracts, for energy technology research and development, shall be reserved for the

supplementary treaty described in paragraph (4). Each Contracting Party shall

through the Secretariat keep the Charter Conference informed of the modalities it

applies to the programmes described in this paragraph.

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(9) Each state or Regional Economic Integration Organization which signs or accedes to
this Treaty shall, on the date it signs the Treaty or deposits its instrument of
accession, submit to the Secretariat a report summarizing all laws, regulations or

other measures relevant to:

(a) exceptions to paragraph (2); or

(b) the programmes referred to in paragraph (8).

A Contracting Party shall keep its report up to date by promptly submitting

amendments to the Secretariat. The Charter Conference shall review these reports

periodically.

In respect of subparagraph {a) the report may designate parts of the energy sector in

which a Contracting Party accords to Investors of other Contracting Parties the

Treatment described in paragraph (3).

In respect of subparagraph (b) the review by the Charter Conference may consider

the effects af such programmes on competition and Investments.

Notwithstanding any other provision of this Article, the treatment described in
paragraphs (3) and (7) shall not apply to the protection of Intellectual Property;
instead, the treatment shall be as specified in the corresponding provisions of the
applicable international agreements for the protection of Intellectual Property rights to

which the respective Contracting Parties are parties.

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(11} For the purposes of Article 26, the application by a Contracting Party of a

trade-reljated investment measure as described in Article 5(1) and (2) to an

Investment of an Investor of another Contracting Party existing at the time of such

application shall, subject to Article 5{3) and (4), be considered a breach of an

obligation of the farmer Contracting Party under this Part.

Each Contracting Party shall ensure that its domestic law provides effective means
for the assertion of claims and the enforcement of rights with respect to

Investments, investment agreements, and investment authorizations.

ARTICLE 11

KEY PERSONNEL

A Contracting Party shall, subject to its laws and regulations relating to the entry,
stay and work of natural persons, examine in good faith requests by Investors of
another Contracting Party, and key personnel who are employed by such Investors or
by Investments of such Investors, to enter and remain temporarily in its Area to
engage in activities connected with the making or the development, management,
maintenance, use, enjoyment or disposal of relevant Investments, including the

provision of advice or key technical services.

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(2) A Contracting Party shall permit Investors of another Contracting Party which have
Investments in its Area, and Investments of such Investors, to employ any key

person of the Investor's or the Investment’s choice regardless of nationality and

citizenship provided that such key person has been permitted to enter, stay and work

in the Area of the former Contracting Party and that the employment concerned
conforms to the terms, conditions and time limits of the permission granted to such

key person.

ARTICLE 12

COMPENSATION FOR LOSSES

Except where Article 13 applies, an Investor of any Contracting Party which suffers
a loss with respect to any Investment in the Area af another Contracting Party owing
to war or other armed conflict, state of national emergency, civil disturbance, or
other similar event in that Area, shall be accorded by the latter Contracting Party, as
regards restitution, indemnification, compensation or other settlement, treatment
which is the most favourable of that which that Contracting Party accords to any
other Investor, whether its own Investor, the Investor of any other Contracting Party,

or the Investor of any third state.
Without prejudice to paragraph (1}, an Investor of a Contracting Party which, in any
of the situations referred to in that paragraph, suffers a lass in the Area of another

Contracting Party resulting from

(a) requisitioning of its Investment or part thereof by the latter’s forces or

authorities; or

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(bo) destruction of its Investment or part thereof by the latter’s forces or authorities,

which was not required by the necessity of the situation,

shall be accorded restitution or compensation which in either case shall be prompt,

adequate and effective.

ARTICLE 13

EXPROPRIATION

Investments of Investors of a Contracting Party in the Area of any other Contracting

Party shall not be nationalized, expropriated or subjected to a measure or Measures

having effect equivalent to nationalization or expropriation (hereinafter referred to as

“Expropriatian”) except where such Expropriation is:

(a) for a purpose which is in the public interest;

{b) not discriminatory;

(c) carried out under due process of law; and

(d) accompanied by the payment of prompt, adequate and effective compensation.

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Such compensation shall amount to the fair market value of the Investment

expropriated at the time immediately before the Expropriation or impending
Expropriation became known in such a way as to affect the value of the Investment

(hereinafter referred to as the "Valuation Date").

Such fair market value shall at the request of the Investor be expressed in a Freely
Convertible Currency on the basis of the market rate of exchange existing for that
currency on the Valuation Date. Compensation shall also include interest at a

commercial rate established on a market basis from the date of Expropriation until

the date of payment.

The Investor affected shall have a right to prompt review, under the law of the
Contracting Party making the Expropriation, by a judicial or other competent and
independent authority of that Contracting Party, of its case, of the valuation of its
Investment, and of the payment of compensation, in accordance with the principles

set out in paragraph (1).

For the avoidance of doubt, Expropriation shall include situations where a
Contracting Party expropriates the assets of a company or enterprise in its Area in
which an Investor af any other Contracting Party has an Investment, including

through the ownership of shares.

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ARTICLE 14

TRANSFERS RELATED TO INVESTMENTS

(1} Each Contracting Party shall with respect to Investments in its Area of Investors of

any other Contracting Party guarantee the freedom of transfer into and out of its

Area, including the transfer of:

{a) the initial capital plus any additional capital for the maintenance and

development of an Investment;

Returns;

payments under a contract, including amortization of principal and accrued

interest payments pursuant to a joan agreement;

unspent earnings and other remuneration of personnel engaged from abroad in

connection with that Investment;

(e) proceeds from the sale or liquidation of all or any part of an Investment;

(f} payments arising out of the settlement of a dispute;

{g} payments of compensation pursuant to Articles 12 and 13.

(2) Transfers under paragraph (1) shall be effected without delay and (except in case of

a Return in kind) in a Freely Convertible Currency.

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Transfers shall be made at the market rate of exchange existing on the date of
transfer with respect to spot transactions in the currency to be transferred. In the
absence of a market for fareign exchange, the rate to be used will be the most
recent rate applied to inward investments or the most recent exchange rate for
conversion of currencies into Special Drawing Rights, whichever is more favourable

to the Investor.

Notwithstanding paragraphs (1) to (3), a Contracting Party may protect the rights of
creditors, or ensure compliance with laws on the issuing, trading and dealing in
securities and the satisfaction of judgements in civil, administrative and criminal
adjudicatory proceedings, through the equitable, non-discriminatory, and good faith

application of its laws and regulations.

Notwithstanding paragraph (2), Contracting Parties which are states that were
constituent parts of the former Union of Soviet Socialist Republics may provide in
agreements concluded between them that transfers of payments shall be made in the
currencies of such Contracting Parties, provided that such agreements do not treat
Investments in their Areas of Investors of other Contracting Parties less favourably
than either Investments of Investors of the Contracting Parties which have entered

into such agreements or Investments of Investors of any third state.

Notwithstanding subparagraph (1}(b), a Contracting Party may restrict the transfer of
a Return in kind in circumstances where the Contracting Party is permitted under

Article 29(2)(a) or the GATT and Related Instruments to restrict or prohibit the

exportation or the sale for export of the product constituting the Return in kind;

provided that a Contracting Party shall permit transfers of Returns in kind to be
effected as authorized or specified in an investment agreement, Investment
authorization, or other written agreement between the Contracting Party and either

an Investor of another Contracting Party or its Investment.

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SUBROGATION

if a Contracting Party or its designated agency (hereinafter referred to as the
“Indemnifying Party") makes a payment under an indemnity or guarantee given in
respect of an Investment of an Investor (hereinafter referred to as the "Party
Indemnified") in the Area of another Contracting Party (hereinafter referred to as the

“Host Party"), the Host Party shall recognize:

(a) the assignment to the Indemnifying Party of all the rights and claims in respect

of such Investment; and

(b) the right of the Indemnifying Party to exercise all such rights and enforce such

claims by virtue of subrogation.
The Indemnifying Party shall be entitled in all circumstances to:

(a) the same treatment in respect of the rights and claims acquired by it by virtue

of the assignment referred to in paragraph (1); and

(b) the same payments due pursuant to those rights and claims,

as the Party Indemnified was entitled to receive by virtue of this Treaty in respect of

the Investment concerned.

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In any proceeding under Article 26, a Contracting Party shall not assert as a defence,
counterclaim, right of set-off or for any other reason, that indemnification or other
compensation for all or part of the alleged damages has been received or will be

received pursuant to an insurance or guarantee contract.
ARTICLE 16
RELATION TO OTHER AGREEMENTS
Where two or more Contracting Parties have entered into a prior international agreement,
or enter into a subsequent international agreement, whose terms in either case concern
the subject matter of Part Ill or V of this Treaty,
(1) nothing in Part III or V of this Treaty shall be construed to derogate from any

pravision of such terms of the other agreement or from any right to dispute

resolution with respect thereto under that agreement; and

nothing in such terms of the other agreement shall be construed to derogate from

any provision of Part lll or V of this Treaty or from any right to dispute resolution

with respect thereto under this Treaty,

where any such provision is more favourable to the Investor or Investment.

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ARTICLE 17

NON-APPLICATION OF PART II IN CERTAIN CIRCUMSTANCES

Each Contracting Party reserves the right to deny the advantages of this Part to:

(1) a legal entity if citizens or nationals of a third state own or control such entity and if

that entity has no substantial business activities in the Area of the Contracting Party

in which it is organized; or

an Investment, if the denying Contracting Party establishes that such Investment is
an Investment of an Investor of a third state with or as to which the denying
Contracting Party:

{a) does not maintain a diplomatic relationship; or

(b) adopts or maintains measures that:

(i) prohibit transactions with Investors of that state; or

(ii) would be violated or circumvented if the benefits af this Part were

accorded to Investors of that state or to their Investments.

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PART IV

MISCELLANEOUS PROVISIONS

ARTICLE 18

SOVEREIGNTY OVER ENERGY RESOURCES

The Contracting Parties recognize state sovereignty and sovereign rights over energy
resources. They reaffirm that these must be exercised in accordance with and

subject to the rules of international law.

Without affecting the objectives of promoting access to energy resources, and
exploration and development thereof an a commercial basis, the Treaty shall in no
way prejudice the rules in Contracting Parties governing the system of property

ownership of energy resources.

Each state continues to hold in particular the rights to decide the geographical areas

within its Area to be made available for exploration and development of its energy

resources, the optimalization of their recovery and the rate at which they may be

depleted or otherwise exploited, to specify and enjoy any taxes, royalties or other
financial payments payable by virtue of such exploration and exploitation, and to
regulate the environmental and safety aspects of such exploration, development and
reclamation within its Area, and to participate in such exploration and exploitation,

inter alia, through direct participation by the government or through state enterprises.

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The Contracting Parties undertake to facilitate access to energy resources, inter alia,
by allocating in a non-discriminatory manner on the basis of published criteria
authorizations, licences, concessions and contracts to prospect and explore for or to

exploit or extract energy resources,

ARTICLE 19

ENVIRONMENTAL ASPECTS

In pursuit of sustainable development and taking into account its obligations under
those international agreements concerning the environment to which it is party, each
Contracting Party shall strive to minimize in an economically efficient manner harmful
Environmental Impacts occurring either within or outside its Area from all operations
within the Energy Cycle in its Area, taking proper account of safety. In doing so
each Contracting Party shall act in a Cost-Effective manner. In its policies and

actions each Contracting Party shall strive to take precautionary measures to

prevent or minimize environmental degradation. The Contracting Parties agree that

the polluter in the Areas of Contracting Parties, should, in principle, bear the cost of
pollution, including transboundary pollution, with due regard to the public interest
and without distorting Investment in the Energy Cycle or international trade.

Contracting Parties shall accordingly:

(a) take account of enviranmenta!l considerations throughout the formulation and

implementation of their energy policies;

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promote market-oriented price formation and a fuller reflection of environmental

costs and benefits throughout the Energy Cycle;

having regard to Article 34(4], encourage cooperation in the attainment of the
environmental objectives of the Charter and cooperation in the field of
international environmental standards for the Energy Cycle, taking into account
differences in adverse effects and abatement costs between Contracting

Parties;

have particular regard to Improving Energy Efficiency, to developing and using
renewable energy sources, to promoting the use of cleaner fuels and to

employing technologies and technological means that reduce pollution;
promote the collection and sharing among Cantracting Parties of information on
environmentally sound and economically efficient energy policies and

Cost-Effective practices and technologies;

promote public awareness of the Environmental Impacts of energy systems, of

the scope for the prevention or abatement of their adverse Environmental

Impacts, and of the costs associated with various prevention or abatement

measures;

promote and cooperate in the research, development and application of energy
efficient and environmentally sound technologies, practices and processes
which will minimize harmful Environmental Impacts of all aspects of the Energy

Cycle in an economically efficient manner;

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encourage favourable conditions for the transfer and dissemination of such
technologies consistent with the adequate and effective protection of

Intellectual Property rights;

promote the transparent assessment at an early stage and prior to decision, and
subsequent monitoring, of Environmental Impacts of environmentally significant

energy investment projects;

promote international awareness and information exchange on Contracting
Parties’ relevant environmental programmes and standards and on the

implementation of those programmes and standards;

participate, upon request, and within their available resources, in the
development and implementation of appropriate environmental programmes in

the Contracting Parties.

At the request of one or more Contracting Parties, disputes concerning the

application or interpretation of provisions of this Article shall, to the extent that

arrangements for the consideration of such disputes do not exist in other appropriate

international fora, be reviewed by the Charter Conference aiming at a solutian.

For the purposes of this Article:

(a) "Energy Cycle" means the entire energy chain, including activities related to
prospecting for, exploration, production, conversion, storage, transport,
distribution and consumption of the various forms of energy, and the treatment
and disposal of wastes, as well as the decommissioning, cessation or closure of

these activities, minimizing harmful Environmental Jmpacts;

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"Environmental Impact” means any effect caused by a given activity on the
environment, including human health and safety, flora, fauna, soil, air, water,
climate, landscape and historical monuments or other physical structures or the
interactions among these factors; it also includes effects on cultural heritage or

socio-economic conditions resulting from alterations to those factors;
"Improving Energy Efficiency” means acting to maintain the same unit of output
(af a good aor service) without reducing the quality or performance of the
output, while reducing the amount of energy required to produce that output;
“Cost-Effective” means ta achieve a defined objective at the lowest cost or to
achieve the greatest benefit at a given cost,

ARTICLE 20

TRANSPARENCY

Laws, regulations, judicial decisions and administrative rulings of general application

which affect trade in Energy Materials and Products are, in accordance with
Article 29(2)(a), among the measures subject to the transparency disciplines of

the GATT and relevant Related Instruments.

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Laws, regulations, judicial decisions and administrative rulings of general application
made effective by any Contracting Party, and agreements in force between
Contracting Parties, which affect other matters covered by this Treaty shall also be
published promptly in such a manner as to enable Contracting Parties and Investors
to become acquainted with them. The provisions of this paragraph shall not require
any Contracting Party to disclose confidential information which would impede law
enforcement or otherwise be contrary to the public interest or would prejudice the

legitimate commercial interests of any Investor.

Each Contracting Party shall designate one or more enquiry paints ta which requests
for information about the abovementioned laws, regulations, judicial decisions and
administrative rulings may be addressed and shall communicate prompily such
designation to the Secretariat which shall make it available on request.

ARTICLE 21

TAXATION

Except as otherwise provided in this Article, nothing in this Treaty shall create rights

or impose obligations with respect to Taxation Measures of the Contracting Parties.
In the event of any inconsistency between this Article and any other provision of the

Treaty, this Article shall prevail to the extent of the inconsistency.

Article 7(3) shall apply to Taxation Measures other than those on income or on

capital, except that such provision shall not apply to:

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an advantage accorded by a Contracting Party pursuant to the tax provisions of
any convention, agreement or arrangement described in subparagraph (7) (a) (ii);

or

any Taxation Measure aimed at ensuring the effective collection of taxes,
except where the measure of a Contracting Party arbitrarily discriminates
against Energy Materials and Products originating in, or destined for the Area of
another Contracting Party or arbitrarily restricts benefits accorded under Article
7(3),

Article 10(2) and (7) shall apply to Taxatian Measures of the Contracting Parties
other than those on income or an capital, except that such provisions shall not apply

to:

impose most favoured nation obligations with respect to advantages accorded

by a Contracting Party pursuant to the tax provisions of any convention,

agreement or arrangement described in subparagraph (7)}(a)(ii) or resulting fram

membership of any Regional Economic Integration Organization; or

any Taxation Measure aimed at ensuring the effective collection of taxes,
except where the measure arbitrarily discriminates against an Investor of
another Contracting Party or arbitrarily restricts benefits accorded under the

Investment provisions of this Treaty.

Article 29(2) to (6) shall apply to Taxation Measures other than those on income or

on capital.

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Article 13 shall apply to taxes.

Whenever an issue arises under Article 13, to the extent it pertains to whether
a tax constitutes an expropriation or whether a tax alleged to constitute an

expropriation is discriminatory, the following provisions shall apply:

(i) The Investor or the Contracting Party alleging expropriation shail refer the

issue of whether the tax is an expropriation or whether the tax is
discriminatory to the relevant Competent Tax Authority. Failing such
referral by the Investor or the Contracting Party, bodies called upon to
settle disputes pursuant to Article 26({2)(c) or 27(2) shall make a referral

to the relevant Competent Tax Authorities;

The Competent Tax Authorities shall, within a period of six months of
such referral, strive to resolve the issues so referred. Where
non-discrimination issues are concerned, the Competent Tax Authorities
shall apply the non-discrimination provisions of the relevant tax
convention or, if there is no non-discriminatian provision in the relevant
tax convention applicable to the tax or no such tax convention is in force
between the Contracting Parties concerned, they shall apply the
non-discrimination principles under the Model Tax Convention on Income
and Capital of the Organisation for Economic Cooperation and

Development;

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Bodies called upon to settle disputes pursuant to Article 26(2)(c} or 27(2)

may take into account any conclusions arrived at by the Competent Tax

Authorities regarding whether the tax is an expropriation, Such bodies

shall take into account any conclusions arrived at within the six-month
period prescribed in subparagraph (b)(ii) by the Competent Tax Authorities
regarding whether the tax is discriminatory. Such bodies may also take
into account any conclusions arrived at by the Competent Tax Authorities

after the expiry of the six-month period;

Under no circumstances shall involvement of the Competent Tax
Authorities, beyond the end of the six-month period referred to in
subparagraph (b)(ii), lead to a delay of proceedings under Articles 26

and 27.

For the avoidance of doubt, Article 14 shall not limit the right of a Contracting Party

to impose or collect a tax by withholding or other means.

For the purposes of this Article:

{a) The term "Taxation Measure" includes:

(i) any provision relating ta taxes of the domestic law of the Contracting

Party or of a political subdivision thereof or a local authority therein; and
any provision relating to taxes of any convention for the avoidance of

double taxation or of any other international agreement or arrangement by

which the Contracting Party is bound.

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There shall be regarded as taxes on income or on capital all taxes imposed on
total income, on total capital or on elements of income or of capital, including
taxes on gains from the alienation of property, taxes on estates, inheritances
and gifts, or substantially similar taxes, taxes on the total amounts of wages or

salaries paid by enterprises, as well as taxes on capital appreciatian.

A "Competent Tax Authority” means the competent authority pursuant to a
double taxation agreement in force between the Contracting Parties or, when
no such agreement is in force, the minister or ministry responsible for taxes or

their authorized representatives.

For the avoidance of doubt, the terms "tax provisions” and “taxes” do not

include customs duties.

ARTICLE 22

STATE AND PRIVILEGED ENTERPRISES

Each Contracting Party shall ensure that any state enterprise which it maintains or
establishes shall conduct its activities in relation to the sale or provision of goods and
services in its Area in a manner consistent with the Contracting Party's obligations

under Part Ii! of this Treaty.
No Contracting Party shall encourage or require such a state enterprise to conduct its

activities in its Area in a manner inconsistent with the Contracting Party‘s obligations

under other provisions of this Treaty.

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Each Contracting Party shal] ensure that if it establishes or maintains an entity and k ‘wel?
entrusts the entity with regulatory, administrative or other governmental authority,
such entity shall exercise that authority in a manner consistent with the Contracting

Party’s obligations under this Treaty.

No Contracting Party shall encourage or require any entity to which it grants
exclusive or special privileges to conduct its activities in its Area in a manner

inconsistent with the Contracting Party’s obligations under this Treaty.
For the purposes of this Article, “entity” includes any enterprise, agency or other
organization or individual.
ARTICLE 23
OBSERVANCE BY SUB-NATIONAL AUTHORITIES
Each Contracting Party is fully responsible under this Treaty for the observance of all
provisions of the Treaty, and shall take such reasonable measures as may be

available to it to ensure such observance by regional and local governments and

authorities within its Area.

The dispute settlement provisions in Parts II, |V and V of this Treaty may be invoked

in respect of measures affecting the observance of the Treaty by a Contracting Party
which have been taken by regional or local governments or authorities within the

Area of the Contracting Party.

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ARTICLE 24

EXCEPTIONS

(1) This Article shall not apply to Articles 12, 13 and 29.

(2) The provisions of this Treaty other than

{a) those referred to in paragraph (1); and

(b) with respect to subparagraph (i), Part Ill of the Treaty

shall not preclude any Contracting Party from adopting ar enforcing any measure

(i) necessary to protect human, animal or plant life or health;

(ii) essential to the acquisition or distribution of Energy Materials and Products in

conditions of short supply arising fram causes outside the control of that

Contracting Party, provided that any such measure shall be consistent with the

principles that

(A) all other Contracting Parties are entitled to an equitable share of the

international supply of such Energy Materials and Products; and
any such measure that is inconsistent with this Treaty shall be

discontinued as soon as the conditions giving rise to it have ceased to

exist; or

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(ili) designed to benefit Investors who are aboriginal people or sacially or
economically disadvantaged individuals or groups or their Investments and

notified to the Secretariat as such, provided that such measure

(A) has no significant impact on that Contracting Party’s economy; and

{B) does not discriminate between Investors of any other Contracting Party
and Investors of that Contracting Party not included among those for

whom the measure is intended,

provided that no such measure shall constitute a disguised restriction on Economic
Activity in the Energy Sector, or arbitrary or unjustifiable discrimination between
Contracting Parties or between Investors or other interested persons of Contracting
Parties. Such measures shall be duly motivated and shall not nullify or impair any
benefit one or more other Contracting Parties may reasonably expect under this

Treaty to an extent greater than is strictly necessary to the stated end.
The provisions of this Treaty other than those referred to in paragraph {1) shall not
be construed te prevent any Contracting Party from taking any measure which it

considers necessary:

(a) for the protection of its essential security interests including those

{i} relating to the supply of Energy Materials and Products to a military

establishment; or

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(ii) taken in time of war, armed conflict or other emergency in international

relations;

relating to the implementation of national policies respecting the
non-proliferation of nuclear weapons or other nuclear explosive devices or
needed to fulfil its obligations under the Treaty on the Non-Proliferation of
Nuclear Weapons, the Nuclear Suppliers Guidelines, and other international
nuclear non-proliferation obligations or understandings; or

(c}) for the maintenance of public order.

Such measure shall not constitute a disguised restriction on Transit.

{4) The provisions of this Treaty which accord most favoured nation treatment shall not
oblige any Contracting Party to extend to the Investors of any other Contracting
Party any preferential treatment:

(a) resulting from its membership of a free-trade area or customs union; or

which is accorded by a bilateral or multilateral agreement concerning economic

cooperation between states that were constituent parts of the former Union of

Soviet Socialist Republics pending the establishment of their mutual economic

relations on a definitive basis.

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ARTICLE 25

ECONOMIC INTEGRATION AGREEMENTS

The provisions of this Treaty shall not be so construed as to oblige a Contracting
Party which is party to an Economic Integration Agreement (hereinafter referred to
as “EIA") to extend, by means of mast favoured nation treatment, to another
Contracting Party which is not a party to that ElA, any preferential treatment
applicable between the parties to that EIA as a result of their being parties thereto.

For the purposes of paragraph (1), "EIA" means an agreement substantially
liberalizing, inter alia, trade and investment, by providing for the absence or

elimination of substantially all discrimination between or among parties thereto

through the elimination of existing discriminatory measures and/or the prohibition of

new or more discriminatory measures, either at the entry into force af that

agreement or on the basis of a reasonable time frame.

This Article shall not affect the application of the GATT and Related Instruments

accerding to Article 29.

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PART V

DISPUTE SETTLEMENT

ARTICLE 26

SETTLEMENT OF DISPUTES BETWEEN AN INVESTOR AND A CONTRACTING PARTY

(1) Disputes between a Contracting Party and an Investor of another Contracting Party

relating to an Investment of the latter in the Area of the former, which concern an
alleged breach of an obligation of the former under Part III shall, if possible, be

settled amicably.

If such disputes can not be settled according to the provisions of paragraph (1)
within a period of three months from the date on which either party to the dispute
requested amicable settlement, the Investor party to the dispute may choose to

submit it for resolution:

(a) to the courts or administrative tribunals of the Contracting Party party to the

dispute;

in accordance with any applicabJe, previously agreed dispute settlement

procedure; or

in accordance with the following paragraphs of this Article.

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Subject only to subparagraphs (b) and (c), each Contracting Party hereby gives ; Seon

its unconditional consent to the submission of a dispute to international

arbitration or conciliation in accordance with the provisions of this Article.

(i) The Contracting Parties listed in Annex ID do not give such unconditional
consent where the Investor has previously submitted the dispute under

subparagraph (2}{a} or (b).

For the sake of transparency, each Contracting Party that is listed in
Annex ID shall provide a written statement of its policies, practices and
conditions in this regard to the Secretariat no later than the date of the
deposit of its instrument of ratification, acceptance or approval in
accordance with Article 39 or the deposit of its instrument of accession in

accordance with Article 41.

{c) A Contracting Party listed in Annex IA does not give such unconditional
consent with respect to a dispute arising under the last sentence of
Article 10(1).

In the event that an Investor chooses to submit the dispute for resolution under
subparagraph (2}(c}, the Investor shall further provide its consent in writing for the

dispute to be submitted to:

(a) i) The International Centre for Settlement of Investment Disputes,
established pursuant to the Convention on the Settlement of Investment
Disputes between States and Nationals of other States opened for
signature at Washington, 1B March 1965 (hereinafter referred to as the
"ICSID Convention"), if the Contracting Party of the Investor and the
Contracting Party party to the dispute are both parties to the ICSID

Convention; or

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(i)

The International Centre for Settlement of Investment Disputes,
established pursuant to the Canvention referred to in subparagraph (a){i),
under the rules governing the Additional Facility for the Administration of
Proceedings by the Secretariat of the Centre (hereinafter referred to as the
"Additional Facility Rules"), if the Contracting Party of the Investor or the
Contracting Party party to the dispute, but not both, is a party to the
ICSID Convention;

a sole arbitrator or ad hoe arbitration tribunal established under the Arbitration
Rules of the United Nations Commission on International Trade Law
(hereinafter referred to as “UNCITRAL"); or

an arbitral praceeding under the Arbitration Institute of the Stockholm Chamber

of Cammerce.

The consent given in paragraph (3) together with the written consent of the
Investor given pursuant to paragraph (4) shall be cansidered to satisfy the

requirement for:

written consent of the parties to a dispute for purposes of Chapter II of

the ICSID Convention and for purposes of the Additional Facility Rules;

an “agreement in writing" for purposes of article II of the United Nations
Convention on the Recognition and Enforcement of Foreign Arbitral
Awards, done at New York, 10 June 1958 (hereinafter referred to as the

"New York Convention"); and

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(iii) "the parties to a contract [to] have agreed in writing” for the purposes of
article 1 of the UNCITRAL Arbitration Rules.

Any arbitration under this Article shall at the request of any party to the dispute
be held in a state that is a party to the New York Canvention. Claims
submitted to arbitration hereunder shall be considered to arise out of a
commercial relationship or transaction far the purposes of article | of that

Convention.

A tribunal established under paragraph (4) shall decide the issues in dispute in

accordance with this Treaty and applicable rules and principles of international law.

An Investor other than a natural person which has the nationality of a Contracting
Party party to the dispute on the date of the consent in writing referred to in
Paragraph (4) and which, before a dispute between it and that Contracting Party
arises, is contralled by Investors of another Contracting Party, shall for the purpose
of article 25(2)(b) of the ICSID Convention be treated as a "national of another
Contracting State" and shall for the purpose of article 1{6) of the Additional Facility

Rules be treated as a “national of another State”.

The awards of arbitration, which may include an award of interest, shall be final and
binding upon the parties to the dispute. An award of arbitration concerning a
measure of a sub-national government or authority of the disputing Contracting Party

shall provide that the Contracting Party may pay monetary damages in lieu ct any

other remedy granted. Each Contracting Party shall carry out without delay any such

award and shall make provision for the effective enforcement in its Area of such

awards.

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ARTICLE 27

SETTLEMENT OF DISPUTES BETWEEN CONTRACTING PARTIES

Contracting Parties shal! endeavour to settle disputes concerning the application or

interpretation of this Treaty through diplomatic channels.

\f a dispute has not been settled in accordance with paragraph (1) within a

reasonable period of time, either party thereto may, except as otherwise provided in

this Treaty or agreed in writing by the Contracting Parties, and except as concerns

the application or interpretation of Article 6 or Article 19 or, for Contracting Parties
listed in Annex 1A, the last sentence of Article 10{1), upon written natice to the

other party to the dispute submit the matter to an ad hac tribunal under this Article.

Such an ad hoc arbitral tribunal shall be constituted as follows:

{a) The Contracting Party instituting the proceedings shall appoint one member of
the tribunal and inform the other Contracting Party to the dispute of its
appointment within 30 days of receipt of the notice referred to in paragraph {2)

by the other Contracting Party;

Within 60 days of the receipt of the written notice referred to in paragraph (2),
the other Contracting Party party to the dispute shall appoint one member. If
the appointment is not made within the time limit prescribed, the Contracting
Party having instituted the proceedings may, within 90 days of the receipt of
the written notice referred ta in paragraph (2), request that the appointment be

made in accordance with subparagraph ({d);

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A third member, who may not be a national or citizen of a Contracting Party F ‘oP
party to the dispute, shall be appointed by the Contracting Parties parties to the
dispute. That member shall be the President of the tribunal. If, within

150 days of the receipt of the notice referred to in paragraph (2), the
Contracting Parties are unable to agree on the appointment of a third member,
that appointment shall be made, in accordance with subparagraph (d), at the
request of either Contracting Party submitted within 180 days of the receipt of

that notice:

Appointments requested to be made in accordance with this paragraph shall be
made by the Secretary-General of the Permanent Court of International
Arbitration within 30 days of the receipt of a request to do so. If the
Secretary-General is prevented from discharging this task, the appointments J
shali be made by the First Secretary of the Bureau. If the latter, in turn, is
prevented from discharging this task, the appointments shall be made by the

most senior Deputy;

Appointments made in accordance with subparagraphs (a) to (d} shall be made
with regard to the qualifications and experience, particularly in matters covered

by this Treaty, of the members to be appointed;

In the absence of an agreement to the contrary between the Contracting
Parties, the Arbitration Rules of UNCITRAL shall govern, except to the extent

modified by the Contracting Parties parties to the dispute or by the arbitrators.

The tribunal shall take its decisions by a majority vote of its members;

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The tribunal shall decide the dispute in accordance with this Treaty and

applicable rules and principles of international law;

The arbitral award shall be final and binding upon the Contracting Parties

parties to the dispute;

Where, in making an award, a tribunal finds that a measure of a regional or
local government or authority within the Area of a Contracting Party listed in
Part | of Annex P is not in conformity with this Treaty, either party to the

dispute may invoke the provisions of Part {I of Annex P;

The expenses of the tribunal, including the remuneration of its members, shall
be borne in equal shares by the Contracting Parties parties to the dispute. The
tribunal may, however, at its discretion direct that a higher proportion of the

costs be paid by one of the Contracting Parties parties to the dispute;
Unless the Contracting Parties parties to the dispute agree otherwise, the
tribunal shall sit in The Hague, and use the premises and facilities of the

Permanent Court of Arbitration;

A copy of the award shall be deposited with the Secretariat which shall make it

generally available.

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ARTICLE 28 | Sault?

NON-APPLICATION OF ARTICLE 27 TO CERTAIN DISPUTES

A dispute between Contracting Parties with respect to the application or interpretation of

Article 5 or 29 shall not be settled under Article 27 unless the Contracting Parties parties
to the dispute so agree.

PART VI

TRANSITIONAL PROVISIONS

ARTICLE 29
INTERIM PROVISIONS ON TRADE-RELATED MATTERS

The provisions of this Article shall apply to trade in Energy Materials and Praducts

while any Contracting Party is not a party to the GATT and Related Instruments.

Trade in Energy Materials and Products between Contracting Parties at least
one of which is not a party to the GATT or a relevant Related Instrument shall
be governed, subject to subparagraphs (b) and (c} and to the exceptions and
rules provided for in Annex G, by the provisions of GATT 1947 and Related
Instruments, as applied on 1 March 1994 and practised with regard to Energy
Materials and Products by parties to GATT 1947 among themselves, as if all
Contracting Parties were parties to GATT 1947 and Related Instruments.

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Such trade of a Contracting Party which is a state that was a constituent part
of the farmer Union of Soviet Socialist Republics may instead be governed,
subject to the provisions of Annex TFU, by an agreement between two or more
such states, until 1 December 1999 or the admission of that Contracting Party

to the GATT, whichever is the earlier.

As concerns trade between any two parties ta the GATT, subparagraph (a)

shall not apply if either of those parties is not a party to GATT 1947.

Each signatory to this Treaty, and each state or Regional Economic Integration
Organization acceding to this Treaty, shall an the date of its signature or of its
deposit of its instrument of accession provide to the Secretariat a list of all tariff
rates and other charges Jevied on Energy Materials and Products at the time of
importation or exportation, notifying the level of such rates and charges applied on

such date of signature or deposit. Any changes to such rates or other charges shall

be notified to the Secretariat, which shall inform the Contracting Parties of such

changes.

Each Contracting Party shall endeavour not to increase any tariff rate or other charge

levied at the time of importation or exportatian:

(a) in the case of the importation of Energy Materials and Products described in.
Part | of the Schedule relating to the Contracting Party referred to in article {I of
the GATT, above the level set forth in that Schedule, if the Contracting Party is
a party to the GATT;

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in the case of the exportation of Energy Materials and Products, and that of
their importation if the Contracting Party is not a party to the GATT, above the
level most recently notified to the Secretariat, except as permitted by the

provisions made applicable by subparagraph (2}(a).

A Contracting Party may increase such tariff rate or other charge above the level

referred to in paragraph (4) only if:

in the case of a rate or other charge levied at the time of importation, such
action is not inconsistent with the applicable provisions of the GATT other than
those provisions of GATT 1947 and Related Instruments listed in Annex G and

the corresponding provisions of GATT 1994 and Related Instruments; or

it has, to the fullest extent practicable under its legislative procedures, notified
the Secretariat of its proposal for such an increase, given other interested
Contracting Parties reasonable opportunity for consultation with respect to its
proposal, and accorded consideration to any representations fram such

Contracting Parties.

Signatories undertake to commence negotiations not later than 1 January 1995 with
a view to concluding by 1 January 1998, as appropriate in the light of any
cevelopmenis in the world trading system, a text of an amendment to this Treaty

which shall, subject to conditions to be laid dawn therein, commit each Contracting

Party not to increase such tariffs or charges beyond the level prescribed under that

amendment.

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Annex D shall apply to disputes regarding compliance with provisions applicable to
trade under this Article and, unless both Cantracting Parties agree otherwise, to
disputes regarding compliance with Article 5 between Contracting Parties at least
one of which is not a party to the GATT, except that Annex D shall not apply to any
dispute between Contracting Parties, the substance of which arises under an

agreement that:

(a) has been notified in accordance with and meets the other requirements of

subparagraph (2)(b) and Annex TFU; or
establishes a free-trade area or a customs union as described in article XXIV of
the GATT.
ARTICLE 30
DEVELOPMENTS IN INTERNATIONAL TRADING ARRANGEMENTS
Contracting Parties undertake that in the light of the results of the Uruguay Round of

Multilateral Trade Negotiations embodied principally in the Final Act thereof done at
Marrakesh, 15 April 1994, they will commence consideration not later than 1 July 1995 or

the entry into force of this Treaty, whichever is the later, of appropriate amendments to

this Treaty with a view to the adoption of any such amendments by the Charter

Conference.

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ARTICLE 31 fa”

ENERGY-RELATED EQUIPMENT

The provisional Charter Conference shall at its first meeting commence examination of the

inclusion of energy-related equipment in the trade provisions of this Treaty.

ARTICLE 32

TRANSITIONAL ARRANGEMENTS

In recognition of the need for time ta adapt to the requirements of a market
economy, a Contracting Party listed in Annex T may temporarily suspend full
compliance with its obligations under one or more of the following provisions of this

Treaty, subject to the conditions in paragraphs (3) to {6}:

Article 6{2) and (5}

Article 7({4)

Article 9{1)

Article 10{7) ~ specific measures

Article 14(1)(d} - related only to transfer of unspent earnings
Article 20(3)

Article 22(1) and (3)

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Other Contracting Parties shall assist any Contracting Party which has suspended full
compliance under paragraph (1) to achieve the conditions under which such
suspension can be terminated. This assistance may be given in whatever form the
other Contracting Parties consider most effective to respond to the needs notified
under subparagraph (4)(c) including, where appropriate, through bilateral or

multilateral arrangements.

The applicable provisions, the stages towards full implementation of each, the
measures to be taken and the date or, exceptionally, contingent event, by which
each stage shall be completed and measure taken are listed in Annex T for each
Contracting Party claiming transitional arrangements. Each such Contracting Party
shall take the measure listed by the date indicated for the relevant provision and
stage as set out in Annex T. Contracting Parties which have temporarily suspended
full compliance under paragraph (1) undertake to comply fully with the relevant
obligations by 1 July 2001. Should a Contracting Party find it necessary, due to
exceptional circumstances, to request that the period of such temporary suspension
be extended or that any further temporary suspension not previously listed in
Annex T be introduced, the decision on a request to amend Annex T shall be made

by the Charter Conference.

A Contracting Party which has invoked transitional arrangements shall notify the

Secretariat no less often than once every 12 manths:

(a) of the implementation of any measures listed in its Annex T and of its general

progress to full compliance;

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of the progress jt expects to make during the next 12 months towards full
compliance with its obligations, of any problem it foresees and of its proposals

for dealing with that problem;

of the need for technical assistance to facilitate completion of the stages set
out in Annex T as necessary for the full implementation of this Treaty, or to
deal with any problem notified pursuant to subparagraph (b] as well as to
promote other necessary market-oriented reforms and modernization of its

energy sector;

(d} of any passible need to make a request of the kind referred to in paragraph (3).

The Secretariat shall:

{a) circulate to all Contracting Parties the notifications referred to in paragraph (4);
circulate and actively promote, relying where appropriate on arrangements
existing within other international organizations, the matching of needs for and
offers of technical assistance referred to in Paragraph (2) and

subparagraph (4}(c):

circulate to ail Contracting Parties at the end of each six month period a

summary of any notifications made under subparagraph (4)(a) or (d).

The Charter Conference shall annually review the progress by Contracting Parties
towards implementation of the provisions of this Article and the matching of needs

and offers of technical assistance referred to in paragraph (2) and

subparagraph ({4)(c). In the course of that review it may decide to take appropriate

action.

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PART VII

STRUCTURE AND INSTITUTIONS

ARTICLE 33

ENERGY CHARTER PROTOCOLS AND DECLARATIONS

The Charter Conference may authorize the negotiation of a number of Energy Charter

Pratocols or Declarations in order to pursue the objectives and principles of the
Charter.

Any signatory to the Charter may participate in such negotiation.

A state or Regional Economic Integration Organization shall not become a party toa
Pratocol or Declaration unless it is, or becomes at the same time, a signatory to the

Charter and a Contracting Party to this Treaty.

Subject to paragraph (3) and subparagraph (6){a), final provisions applying to a

Protocol shall be defined in that Protocol.

A Protocol shall apply only to the Contracting Parties which consent to be bound by
it, and shall not deragate from the rights and obligations of those Contracting Parties

not party to the Protocol.

(a) A Protocol may assign duties to the Charter Conference and functions to the
Secretariat, pravided that no such assignment may be made by an amendment
to a Protacol unless that amendment is approved by the Charter Conference,
whose approval shall not be subject to any provisions of the Protocol which are

authorized by subparagraph (b).

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(b} A Protacol which provides for decisions thereunder to be taken by the Charter
Conference may, subject to subparagraph (a), provide with respect to such

decisions:

(i) for voting rules other than those contained in Article 36;

(ii) that only parties ta the Protacol shall be considered to be Contracting
Parties for the purposes of Article 36 or eligible to vote under the rules
provided for in the Protocol.

ARTICLE 34
ENERGY CHARTER CONFERENCE
The Contracting Parties shall meet periodically in the Energy Charter Conference
lreferred to herein as the "Charter Conference") at which each Contracting Party
shall be entitled to have one representative, Ordinary meetings shall be held at

intervals determined by the Charter Conference.

Extraordinary meetings of the Charter Conference may be held at such times as may

be determined by the Charter Conference, or at the written request of any

Contracting Party, provided that, within six weeks of the request being
communicated to the Contracting Parties by the Secretariat, it is supported by at

least one-third of the Contracting Parties.

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(3) The functions of the Charter Conference shall be to:

carry out the duties assigned to it by this Treaty and any Protocols;

keep under review and facilitate the implementation of the principles of the

Charter and of the provisions of this Treaty and the Protocols;

facilitate in accordance with this Treaty and the Protocols the coordination of

appropriate general measures to carry out the principles of the Charter;
consider and adopt programmes of work to be carried out by the Secretariat;
consider and approve the annual accounts and budget of the Secretariat;
consider and approve or adopt the terms of any headquarters or other
agreement, including privileges and immunities considered necessary for the

Charter Conference and the Secretariat;

encourage cooperative efforts aimed at facilitating and promoting

market-oriented reforms and modernization of energy sectors in those countries

of Central and Eastern Europe and the former Union of Soviet Socialist

Republics undergoing economic transition;

authorize and approve the terms of reference for the negotiation of Protocols,

and consider and adopt the texts thereof and of amendments thereto;

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authorize the negotiation of Declarations, and approve their issuance;

decide on accessions to this Treaty:

authorize the negotiation of and consider and approve or adopt association

agreements;

consider and adopt texts of amendments to this Treaty;

consider and approve modifications of and technical changes to the Annexes to

this Treaty;

appoint the Secretary-General and take all decisions necessary for the
establishment and functioning of the Secretariat including the structure, staff

levels and standard terms of employment of officials and employees.

In the performance of its duties, the Charter Conference, through the Secretariat,
shall cooperate with and make as full a use as possible, consistently with economy

and efficiency, of the services and programmes of other institutions and

organizations with established competence in matters related to the objectives of this

Treaty.

The Charter Conference may establish such subsidiary bodies as it considers

appropriate for the performance of its duties.

The Charter Conference shall consider and adopt rules of procedure and financial

rules,

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In 1999 and thereafter at intervals (af not more than five years) to be determined by
the Charter Conference, the Charter Conference shall thoroughly review the
functions provided for in this Treaty in the light of the extent to which the provisions
of the Treaty and Protocols have been implemented. At the conclusion of each
review the Charter Conference may amend or abolish the functions specified in

paragraph (3} and may discharge the Secretariat.

ARTICLE 35

SECRETARIAT

In carrying out its duties, the Charter Conference shall have a Secretariat which shall

be composed of a Secretary-General and such staff as are the minimum consistent

with efficient performance.

The Secretary-General shall be appointed by the Charter Conference. The first such

appointment shall be for a maximum period of five years.

In the performance of its duties the Secretariat shall be responsible to and report to

the Charter Canference.

The Secretariat shall provide the Charter Conference with all necessary assistance for

the performance of its duties and shall carry out the functions assigned to it in this

Treaty or in any Protocol and any other functions assigned to it by the Charter

Conference.

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The Secretariat may enter into such administrative and contractual arrangements as Be
may be required for the effective discharge of its functions.
ARTICLE 36
VOTING
Unanimity of the Contracting Parties Present and Voting at the meeting of the

Charter Conference where such matters fall to be decided shail be required for

decisions by the Charter Conference ta:

(a) adopt amendments to this Treaty other than amendments to Articles 34 and 35

and Annex T;
approve accessions to this Treaty under Article 41 by states or Regional
Economic Integration Organizations which were not signatories to the Charter

as of 16 June 1995;

authorize the negotiation of and approve or adopt the text of association

agreements;

approve modifications to Annexes EM, NI, G and B;

approve technical changes to the Annexes to this Treaty; and

approve the Secretary-General’s nominations of panelists under Annex D,

Paragraph {7}.

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The Contracting Parties shall make every effort to reach agreement by consensus on

any other matter requiring their decision under this Treaty. If agreement cannot be

reached by consensus, paragraphs (2) to (5) shall apply.

Decisions on budgetary matters referred to in Article 34(3}(e) shall be taken by a
qualified majority of Contracting Parties whose assessed contributions as specified in
Annex B represent, in combination, at least three-fourths of the total assessed

contributions specified therein.

Decisions on matters referred to in Article 34{7) shall be taken by a three-fourths

majority of the Contracting Parties.

Except in cases specified in subparagraphs (1)({a) to (f), paragraphs (2) and (3), and
subject to paragraph (6), decisions provided for in this Treaty shall be taken by a
three-fourths majority of the Contracting Parties Present and Voting at the meeting of

the Charter Conference at which such matters fall to be decided.

For purposes of this Article,"Contracting Parties Present and Voting” means
Contracting Parties present and casting affirmative or negative votes, provided that
the Charter Conference may decide upon rules of procedure to enable such decisions

to be taken by Contracting Parties by correspondence.

Except as provided in paragraph (2), no decision referred to in this Article shall be

valid unless it has the support of a simple majority of the Contracting Parties.

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{7} A Regional Economic Integration Organization shall, when voting, have a number of
votes equal to the number of its member states which are Contracting Parties to this
Treaty; provided that such an Organization shall not exercise its right to vote if its

member states exercise theirs, and vice versa,
In the event of persistent arrears in a Contracting Party’s discharge of financial
obligations under this Treaty, the Charter Conference may suspend that Contracting
Party’s voting rights in whole or in part.

ARTICLE 37

FUNDING PRINCIPLES

Each Contracting Party shall bear its own costs of representation at meetings of the

Charter Conference and any subsidiary bodies.

The cost of meetings of the Charter Conference and any subsidiary bodies shall be

regarded as a cost of the Secretariat.

The costs of the Secretariat shall be met by the Contracting Parties assessed

according to their capacity to pay, determined as specified in Annex B, the provisions

of which may be modified in accordance with Article 36(1)(d).

A Protocol shall contain provisions to assure that any costs of the Secretariat arising

from that Protocol are borne by the parties thereto.

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(5) The Charter Conference may in addition accept voluntary contributions from one or
more Contracting Parties or from other sources. Costs met from such contributions
shall not be considered costs of the Secretariat for the purposes of paragraph (3).

PART VIII

FINAL PROVISIONS

ARTICLE 38

SIGNATURE
This Treaty shall be open for signature at Lisbon from 17 December 1994 to
16 June 1995 by the states and Regional Economic Integration Organizations which have
signed the Charter.

ARTICLE 39

RATIFICATION, ACCEPTANCE OR APPROVAL

This Treaty shall be subject to ratification, acceptance or approval by signatories.

Instruments of ratification, acceptance or approval shall be deposited with the Depositary.

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ARTICLE 40

APPLICATION TO TERRITORIES

Any state or Regional Economic Integration Organization may at the time of
signature, ratification, acceptance, approval or accession, by a declaration deposited
with the Depositary, declare that the Treaty shall be binding upon it with respect to
all the territories far the international relations of which it is responsible, or ta ane ar
more of them. Such declaration shall take effect at the time the Treaty enters into

force for that Contracting Party.

Any Contracting Party may at a later date, by a declaration deposited with the

Depositary, bind itself under this Treaty with respect to other territory specified in

the declaration. In respect of such territory the Treaty shall enter into force on the

ninetieth day following the receipt by the Depositary of such declaration.

Any declaration made under the twa preceding paragraphs may, in respect of any
territory specified in such declaration, be withdrawn by a notification to the
Depositary. The withdrawal shall, subject to the applicability of Article 47{3),
become effective upon the expiry of one year after the date of receipt af such

notification by the Depositary.

The definition of "Area" in Article 1{10) shall be construed having regard to any

declaration deposited under this Article.

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ARTICLE 41

ACCESSION

This Treaty shall be open for accession, from the date an which the Treaty is closed for

signature, by states and Regional Economic Integration Organizations which have signed

the Charter, on terms to be approved by the Charter Conference. The instruments of
accession shall be deposited with the Depositary.
ARTICLE 42
AMENDMENTS

Any Contracting Party may propose amendments to this Treaty.

The text of any proposed amendment to this Treaty shall be communicated to the

Contracting Parties by the Secretariat at least three months before the date on which

it is proposed for adoption by the Charter Conference.

Amendments to this Treaty, texts of which have been adopted by the Charter

Conference, shall be communicated by the Secretariat to the Depositary which shall

submit them to all Contracting Parties for ratification, acceptance or approval.

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Instruments of ratification, acceptance or approval of amendments to this Treaty a aii”?
shall be deposited with the Depositary. Amendments shall enter into force between :
Contracting Parties having ratified, accepted or approved them on the ninetieth day
after deposit with the Depositary of instruments of ratification, acceptance or
approval by at least three-fourths of the Contracting Parties. Thereafter the
amendments shall enter into force for any other Contracting Party on the ninetieth
day after that Contracting Party deposits its instrument of ratification, acceptance or

approval of the amendments.
ARTICLE 43
ASSOCIATION AGREEMENTS
The Charter Conference may authorize the negotiation of association agreements
with states or Regional Economic Integration Organizations, or with international

organizations, in order to pursue the objectives and principles of the Charter and the

provisions of this Treaty or one or more Protocols.

The relationship established with and the rights enjoyed and obligations incurred by

an associating state, Regional Economic Integration Organization, or international
organization shall be appropriate to the particular circumstances of the association,

and in each case shall be set out in the association agreement.

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(1)

ARTICLE 44

ENTRY INTO FORCE

This Treaty shall enter into force on the ninetieth day after the date of deposit of the

thirtieth instrument of ratification, acceptance or approval thereof, or of accession

thereto, by a state or Regional Economic Integration Organization which is a

signatory to the Charter as of 16 June 1995.

For each state or Regional Economic Integration Organization which ratifies, accepts
or approves this Treaty or accedes thereto after the deposit of the thirtieth
instrument of ratification, acceptance or approval, it shall enter into force on the
ninetieth day after the date of deposit by such state or Regional Economic Integration

Organization of its instrument of ratification, acceptance, approval or accession.
For the purposes of paragraph (1), any instrument deposited by a Regional Economic
Integration Organization shall not be counted as additional to those deposited by
member states of such Organization.
ARTICLE 45
PROVISIONAL APPLICATION
Each signatory agrees to apply this Treaty provisionally pending its entry into force

for such signatory in accordance with Article 44, to the extent that such provisianal

application is not inconsistent with its constitution, laws or regulations.

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Notwithstanding paragraph (1) any signatory may, when signing, deliver to the
Depositary a declaration that it is not able to accept provisional application.
The obligation contained in Paragraph (1) shali not apply to a signatory making
such a declaration. Any such signatory may at any time withdraw that

declaration by written notification to the Depositary.

Neither a signatory which makes a declaration in accordance with
subparagraph (a) nor Investors of that signatory may claim the benefits of

provisional application under paragraph (1).

Notwithstanding subparagraph (a), any signatory making a declaration referred
to in subparagraph {a) shall apply Part VII provisionally pending the entry into
force of the Treaty for such signatory in accordance with Article 44, to the
extent that such provisional application is not inconsistent with its laws or

regulations.

Any signatory may terminate its provisional application of this Treaty by written
notification to the Depositary of its intention not to become a Contracting Party
to the Treaty, Termination of provisional application for any signatory shall
take effect upon the expiration of 60 days from the date on which such

signatory’s written notification is received by the Depositary.

In the event that a signatory terminates provisional application under

subparagraph (a), the abligation of the signatory under paragraph (1) to apply

Parts Ill and V with respect to any Investments made in its Area during such
provisional application by Investors of other signatories shall nevertheless
remain in effect with respect to those Investments for twenty years follawing
the effective date of termination, except as otherwise provided in

subparagraph (c).

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(c} Subparagraph (b) shall not apply to any signatory listed in Annex PA. A
signatory shall be removed from the list in Annex PA effective upon delivery to

the Depositary of its request therefor.

Pending the entry into force of this Treaty the signatories shall meet periodically in

the provisional Charter Conference, the first meeting of which shall be convened by

the provisional Secretariat referred to in paragraph (5) not later than 180 days after

the opening date for signature af the Treaty as specified in Article 38.

The functions of the Secretariat shall be carried out on an interim basis by a
provisional! Secretariat until the entry into force of this Treaty pursuant to Article 44

and the establishment of a Secretariat.

The signatories shall, in accordance with and subject to the provisions af

paragraph (1) or subparagraph (2}{c) as appropriate, contribute to the costs of the
provisional Secretariat as if the signatories were Contracting Parties under

Article 37(3). Any modifications made to Annex B by the signatories shall terminate

upon the entry into farce of this Treaty.

A state or Regional Economic Integration Organization which, prior to this Treaty’s
entry into force, accedes to the Treaty in accordance with Article 41 shall, pending
the Treaty’s entry into force, have the rights and assume the obligations of a

signatory under this Article.

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ARTICLE 46

RESERVATIONS

No reservations may be made to this Treaty.

ARTICLE 47

WITHDRAWAL

At any time after five years from the date on which this Treaty has entered into force
for a Contracting Party, that Contracting Party may give written notification to the

Depositary of its withdrawal from the Treaty.

Any such withdrawal shall take effect upon the expiry of one year after the date of
the receipt of the notification by the Depositary, or on such later date as may be

specified in the notification of withdrawal.

The provisions of this Treaty shall continue to apply to Investments made in the Area

of a Contracting Party by Investors of other Contracting Parties or in the Area of
other Contracting Parties by Investars of that Contracting Party as of the date when
that Contracting Party’s withdrawal from the Treaty takes effect for a period of 20

years from such date.

All Protocols to which a Contracting Party is party shall cease to be in force for that

Contracting Party on the effective date of its withdrawal from this Treaty.

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ARTICLE 48

STATUS OF ANNEXES AND DECISIONS

The Annexes to this Treaty and the Decisions set out in Annex 2 to the Final Act of the

European Energy Charter Conference signed at Lisbon on 17 December 1994 are integral

parts of the Treaty.

ARTICLE 49

DEPOSITARY
The Government of the Portuguese Republic shall be the Depositary of this Treaty.

ARTICLE 50

AUTHENTIC TEXTS

In witness whereof the undersigned, being duly authorized to that effect, have signed this
Treaty in English, French, German, Italian, Russian and Spanish, of which every text is
equally authentic, in one original, which will be deposited with the Government of the
Portuguese Republic.

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Done at Lisbon on the seventeenth day of December in the year one thousand nine
hundred and ninety-four.

Fait 4 Lisbonne, le dix-sept décembre mil neuf cent quatre-vingt-quatorze.

Geschehen zu Lissabon am siebzehnten Dezember neunzehnhundertvierundneunzig.

Fatto a Lisbona il diciassettesimo giorno del mese di dicembre dell'anno
millenovecentonovantaquattro.

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Copepweno B Jlucca6oHe B Ce@MHanWAaTHH oeHb geKaOpaA ofHa THCAUA
HEBITLCOT ODeBSINOCTO UeTBepToro Tora.

Hecho en Lisboa, el diecisiete de diciembre de mil novecientos noventa y cuatro.

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Pér Republikén e Shgipérisé

For Australia

Fur die Republik Osterreich

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Voor het Kaninkrijk Belgié
Fur das Kénigreich Belgien

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hei Brussels Healdsledaijk Gewesl

Diese Unierschrif bindet abenso die Flamische Gemeinschait, die Frarzdsischa Gemeinschall Helena, die Deutscnsprachige Gemeinschaft Belgians, die Fidmische
Ragion, dia Walionisehe Regian und die Region Gnissei-Hauptsladl

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For Canada
Pour le Canada

za Republiku Hrvatsku

For the Republic of Cyprus

Za Ceskou Republiku

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For De Europeeiske Feellesskaber

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Pour les Communautés européennes

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Fur die Bundesrepublik Deutschland

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For treland

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Far das Furstentum Liechtenstein

Lietuvos Respublikos vardu

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Pour Je Grand-Duché de Luxembourg

For the Republic of Malta

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Pentru Republica Moldova

For Kongeriket Norge

Za Rzeczpospalita Polska

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Za Republiko Slovenija

Por el Reino de Espana

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Fur die Schweizerische Eidgenossenschaft
Pour !a Conféderation suisse
Per la Confederazione svizzera

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For the United Kingdom of Great Britain and Northern Ireland

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For the United States of America

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Za Republiku Bosnu i Hercegovinu

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ANNEXES TO THE ENERGY CHARTER TREATY

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1. ANNEX EM

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ENERGY MATERIALS AND PRODUCTS
{In accordance with Article 1(4))
Nuclear 26.12 Uranium or thorium ores and concentrates.
energy
26.12.10 Uranium ores and concentrates. S
26.12.20 Thorium ores and concentrates. e
28.44 Radioactive chemical elements and radioactive isotopes 4
(including the fissile or fertile chemical elements and isotopes)
and their compounds; mixtures and residues comrtaining these 4
products, 1
28.44.10 Natural uranium and its compounds.
28.44.20 Uranium enriched in U235 and its compounds:
plutonium and its compounds, Fa
4
28.44.30 Uranium depleted in U235 and its compounds; 4
thorium and its compounds, |
28,.44,40 Radioactive elements and isotopes and I —

radioactive compounds other than 28.44.10,
28.44.20 or 28.44.30.

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28.44.50 Spent (irradiated) fuel elements (cartridges) of

nuclear reactors.

28.45.10 Heavy water (deuterium oxide).

Coal, Natural Coal, briquettes, ovoids and similar solid
Gas, Petroleum fuels manufactured from coal.

and Petroleum

Products, Lignite, whether or not agglomerated
Electrical excluding jet.

Energy

Peat (including peat litter), whether or not agglomerated.

Coke and semi-coke of coal, of lignite or of peat, whether or

not agglomerated; retort carbon.

Coal gas, water gas, producer gas and similar gases, other

than petroleum gases and other gaseous hydrocarbons.
Tar distilled from coal, from lignite or from peat, and other

mineral tars, whether or not dehydrated or partially distilled,

including reconstituted tars.

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Oils and other products of the distillation of high temperature
coal tar; similar products in which the weight of the aromatic

constituents exceeds that of the non-aromatic constituents

{e.g., benzole, toluole, xylole, naphtalene, other aromatic

hydrocarbon mixtures, phenols, creosote oils and others).

Pitch and pitch coke, obtained from coal tar or from other

mineral tars.

Petroleum oils and oils obtained tram bituminous minerals,

crude.

Petraleum oils and oils obtained from bituminous minerals,

other than crude.

Petroleum gases and other gaseous hydrocarbons
Liquified:
— natural gas
propane
- butanes
- ethylene, propylene, butylene and butadiene (27.11.14)

— other
In gaseous state:

- natural gas

~ other

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Petroleum coke, petroleum bitumen and other residues of

petroleum oils or of oils obtained from bituminous minerals.

Bitumen and asphalt, natural; bituminous or oil shale and tar

sands; asphaltites and asphaltic rocks.

Bituminous mixtures based on natural asphalt, on natural

bitumen, on petroleum bitumen, on mineral tar or an mineral

tar pitch (e.g., bituminous mastics, cut-backs).
Electrical energy.
Other Energy
44.01.10 Fuel wood, in lags, in billets, in twigs, in faggots or in

similar forms,

Charcoal (including charcoal from shells or nuts), whether

ar not agglomerated.

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2. ANNEX NI
NON-APPLICABLE ENERGY MATERIALS AND PRODUCTS

FOR DEFINITION OF "ECONOMIC ACTIVITY IN THE ENERGY SECTOR"

(In accordance with Article 1(5))

Oils and other products of the distillation af high temperature coal tar; similar

products in which the weight of the aromatic constituents exceeds that of the

non-aromatic constituents (e.g., benzale, toluole, xylole, naphtalene, other

aromatic hydrocarbon mixtures, phenols, creosote oils and others).

44.01.10 Fuel wood, in logs, in billets, in twigs, in faggots or in similar forms.

44.02 Charcoal (including charcoal from shells or nuts), whether or not agglomerated.

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3. ANNEX TRM

NOTIFICATION AND PHASE-OUT (TRIMs)

(In accordance with Article 5{4))

(1) Each Contracting Party shall notify to the Secretariat all trade related investment
measures which it applies that are not in conformity with the provisions of Article 5,

within:

{a) 90 days after the entry into force of this Treaty if the Contracting Party is a
party to the GATT; or

(b) 12 months after the entry into force of this Treaty if the Contracting Party is
not a party to the GATT.

Such trade related investment measures of general or specific application shall be

notified along with their principal features.

(2) In the case of trade related investment measures applied under discretionary
authority, each specific application shall be notified. Information that would
prejudice the legitimate commercial interests of particular enterprises need not be

disciosed.

(3) Each Contracting Party shall eliminate all trade related investment measures which

are notified under paragraph (1) within:

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two years from the date of entry into force of this Treaty if the Contracting

Party is a party to the GATT; or

three years from the date of entry into force of this Treaty if the Contracting

Party is not a party to the GATT.

During the applicable period referred to in paragraph (3) a Contracting Party shall not
modify the terms of any trade related investment measure which it notifies under
paragraph (1) from those prevailing at the date of entry into force of this Treaty so
as to increase the degree of inconsistency with the pravisions of Article 5 of this

Treaty.

Notwithstanding the provisions of paragraph (4), a Contracting Party, in order not to
disadvantage established enterprises which are subject to a trade related investment
measure notified under paragraph (1), may apply during the phase-out period the

same trade related investment measure to a new Investment where:

(a) the products of such Investment are like products to those of the established

enterprises; and

such application is necessary to avoid distorting the conditions of campetition

between the new Investment and the established enterprises.

Any trade related investment measure so applied to a new Investment shall be
notified to the Secretariat. The terms of such a trade related investment measure
shall be equivalent in their competitive effect to those applicable to the established

enterprises, and it shall be terminated at the same time.

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Where a state or Regional Economic Integration Organization accedes to this Treaty

after the Treaty has entered into force:

la) the notification referred to in paragraphs (1) and (2) shall be made by the later

of the applicable date in paragraph (1) or the date of deposit of the instrument

of accession; and
the end of the phase-out period shall be the later of the applicable date in

paragraph (3) or the date on which the Treaty enters into force for that state or

Regional Economic Integration Organization.

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4. ANNEX N

LIST OF CONTRACTING PARTIES REQUIRING AT LEAST 3 SEPARATE
AREAS TO BE INVOLVED IN A TRANSIT
(In accordance with Article 7{10)}{a})

1. Canada and United States of America

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5. ANNEX VC

LIST OF CONTRACTING PARTIES WHICH HAVE MADE VOLUNTARY
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(In accordance with Article 10(6))

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6. ANNEX ID

LIST OF CONTRACTING PARTIES NOT ALLOWING AN INVESTOR TO RESUBMIT THE
SAME DISPUTE TO INTERNATIONAL ARBITRATION AT A LATER STAGE UNDER ARTICLE

26

(In accordance with Article 26(3)(b)(i))

Australia

Azerbaijan

Bulgaria

Canada

Croatia

Cyprus

The Czech Republic

European Communities

Finland

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. Greece

. Hungary

. Ireland

. Italy

. Japan

. Kazakhstan

. Norway

. Poland

, Portugal

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19. Romania 22. Spain

20. The Russian Federation 23. Sweden

21. Slovenia 24. United States of America

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7, ANNEX IA

LIST OF CONTRACTING PARTIES NOT ALLOWING AN INVESTOR OR CONTRACTING

PARTY TO SUBMIT A DISPUTE CONCERNING THE LAST SENTENCE OF ARTICLE 70(1}

TO INTERNATIONAL ARBITRATION

(In accordance with Articles 26(3)(c} and 27(2))

Australia

Canada

Hungary

Norway

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8. ANNEX P

SPECIAL SUB-NATIONAL DISPUTE PROCEDURE
{In accordance with Article 27(3)(i))

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1, Canada

2. Australia

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e | (1) Where, in making an award, the tribunal finds that a measure of a regional or local
government or authority of a Contracting Party (hereinafter referred to as the
“Responsible Party} is not in conformity with a provision of this Treaty, the
Responsible Party shall take such reasonable measures as may be available to it to

ensure observance of the Treaty in respect of the measure.

(2) The Responsible Party shall, within 30 days from the date the award is made,
provide to the Secretariat written notice of its intentions as to ensuring observance
of the Treaty in respect of the measure. The Secretariat shall present the notification
to the Charter Conference at the earliest practicable opportunity, and no later than
the meeting of the Charter Conference following receipt of the notice. If it is
impracticable to ensure observance immediately, the Responsible Party shall have a
my ts reasonable period of time in which to do so. The reasonable period of time shall be
agreed by both parties to the dispute. In the event that such agreement is not
reached, the Responsible Party shall propose a reasonable period for approval by the

Charter Conference.

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Where the Responsible Party fails, within the reasonable period of time, to ensure
observance in respect of the measure, it shall at the request of the other Contracting
Party party to the dispute (hereinafter referred to as the "Injured Party") endeavour to
agree with the Injured Party on appropriate compensation as a mutually satisfactory

resolution of the dispute.

If no satisfactory compensation has been agreed within 20 days of the request of the
Injured Party, the Injured Party may with the authorization of the Charter Conference
suspend such of its obligations to the Responsible Party under the Treaty as it
considers equivalent to those denied by the measure in question, unti) such time as
the Contracting Parties have reached agreement on a resolution of their dispute or

the non-conforming measure has been brought into conformity with the Treaty,

In considering what obligations to suspend, the Injured Party shall apply the following

principles and procedures:

(a) The Injured Party should first seek to suspend obligations with Tespect to the

same Part of the Treaty as that in which the tribunal has found a violation.

If the Injured Party considers that it is not practicable or effective to suspend

obligations with respect to the same Part of the Treaty, it may seek to suspend
obligations in other Parts of the Treaty. If the Injured Party decides to request
authorization to suspend obligations under this sub-paragraph, it shall state the

reasons therefor in its request to the Charter Conference for authorization.

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On written request of the Responsible Party, delivered to the Injured Party and to the
President of the tribunal that rendered the award, the tribunal shall determine
whether the level of obligations suspended by the Injured Party is excessive, and if
so, to what extent. If the tribunal cannot be reconstituted, such determination shall
be made by one or more arbitrators appointed by the Secretary-General.
Determinations pursuant to this paragraph shall be completed within 60 days of the

request to the tribunal or the appointment by the Secretary-General. Obligations

shall not be suspended pending the determination, which shall be final and binding.

In suspending any obligations to a Responsible Party, an Injured Party shall make
every effort not to affect adversely the rights under the Treaty of any other

Contracting Party.

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9. ANNEX G nad)
EXCEPTIONS AND RULES GOVERNING THE APPLICATION OF THE PROVISIONS OF THE
GATT AND RELATED INSTRUMENTS
(In accordance with Article 29(2){a))
{1} The following provisions of GATT 1947 and Related Instruments shall not be
applicable under Article 29(2){a):
(a) General Agreement on Tariffs and Trade
Schedules of Concessions (and the Schedules te the General
Agreement on Tariffs and Trade}
IV Special Provisions relating to Cinematographic Films a
XV Exchange Arrangements
XVI Governmental Assistance to Economic Development
XX! Consultation
XXtll Nullification or Impairment
XXV Joint Action by the Contracting Parties
XXVI Acceptance. Entry into Force and Registration
XXVII Withholding or Withdrawal of Concessions
XXVIII Modification of Schedules
XXVIIlbis Tariff Negotiations
XXIX The relation of this Agreement to the Havana Charter
XXX Amendments
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XXX! Withdrawal

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XXXIl Contracting Parties

XXXII Accession

XXXV Non-application of the Agreement between particular Contracting
Parties

XXXVI Principles and Objectives

XXXVI Commitments

XXXVIIE Joint Action

Annex H_ Relating to Article XXVI1

Annex { Notes and Supplementary Provisions (related to above GATT

articles)

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Safeguard Action for Development Purposes

Understanding Regarding Notification, Consultation, Dispute Settlement and

Surveillance.

Related Instruments

(i) | Agreement on Technical Barriers to Trade (Standards Code}

Preamble {paragraphs 1, 8, 9)

1.3 General provisions

2.6.4 Preparation, adoption and application of technical regulations
and standards by central government bodies

10.6 Information about technical regulations, standards and
certification systems

11 Technical assistance to other Parties

12 Special and differentia! treatment of developing countries

13 The Committee on Technical Barriers to Trade

14 Consultation and dispute settlement

15 Final provisions (other than 15.5 and 15.13)

Annex 2. Technical Expert Groups

Annex 3 Panels

Agreement on Government Procurement

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(iii} Agreement on Interpretation and Application of Articles VI, XVI and XXIII

(Subsidies and Countervailing Measures)

10 Export subsidies on certain primary products

12 Consultations

13 Conciliation, dispute settlement and authorized counter
measures

14 Developing countries

16 Committee on Subsidies and Countervailing Measures

17 Conciliation

18 Dispute settlement

19.2 Acceptance and accession

19.4 Entry into force

19.5(a) National legislation

19.6 Review

19.7 Amendments

19.8 Withdrawal

19.9 Non-application of this Agreement between particular

signatories
19.11 Secretariat
19.12 Deposit
19.13 Registration

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(iv) Agreement on Implementation of Article VII (Customs Valuation)

1.2ib)(iv) Transaction value
11.1 Determination of customs value
14 Application of Annexes (second sentence)
18 Institutions (Committee on Customs Valuation)
19 Consultation
20 Dispute settlement
21 Special and differential treatment of developing countries
22 Acceptance and accession
24 Entry into force
25. National legislation
Review
Amendments
Withdrawal
Secretariat
Deposit
31 Registration
Annex II Technical Committee on Customs Valuation

Annex It! Ad Hoc Panels

Protacol to the Agreement on Implementation of Article VII (except |.7

and 1.8; with necessary conforming introductory language)
Agreement on Import Licensing Procedures

1.4 General provisions (last sentence}

2.2 Automatic import licensing (footnote 2)

4 Institutions, consultation and dispute settlement

5 Final provisions {except paragraph 2)

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(vi) Agreement an Implementation of Article VI (Antidumping Code}
13 Developing Countries
14. Committee on Anti-Dumping Practices
15 Consultation, Conciliation and Dispute Settlement
16 Final Provisions (except paragraphs 1 and 3)
{vii) Armangerment Regarding Bovine Meat
(viii) International Dairy Arrangement
{ix} Agreement on Trade in Civil Aircraft

(x) Declaration on Trade Measures Taken for Balance-of-Payments Purposes.

All other provisions in the GATT or Related Instruments which relate to:

{i} governmental assistance to economic development and the treatment of

developing countries, except for paragraphs (1) to (4) of the Decision of
28 November 1979 (L/49Q03) on Differential and more Favourable

Treatment, Reciprocity and Fuller Participation of Developing Countries;

the establishment or operation of specialist committees and other

subsidiary institutions;

signature, accession, entry into force, withdrawal, deposit and

registration.

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All agreements, arrangements, decisions, understandings or other joint action

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pursuant to the provisions listed in sub-paragraphs (a) to (c).

Contracting Parties shall apply the provisions of the “Declaration on Trade Measures

Taken for Balance-of-Payments Purposes" to measures taken by those Contracting

Parties which are not parties to the GATT, to the extent practicable in the context of

the other provisions of this Treaty.

With respect to notifications required by the provisions made applicable by
Article 29(2)}{a)}:

(a) Contracting Parties which are not parties to the GATT or a Related Instrument
shall make their notifications to the Secretariat. The Secretariat shall circulate
copies of the notifications to all Contracting Parties. Notifications to the
Secretariat shall be in one of the authentic languages of this Treaty, The
accompanying documents may be solely in the language of the Contracting

Party;

such requirements shall not apply to Contracting Parties to this Treaty which
are also parties to the GATT and Related Instruments, which contain their own

notification requirements,

Trade in nuclear materials may be governed by agreements referred to in the
Declarations related to this paragraph cantained in the Final Act of the European

Energy Charter Conference.

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10. ANNEX TFU

PROVISIONS REGARDING TRADE AGREEMENTS BETWEEN STATES WHICH WERE
CONSTITUENT PARTS OF THE FORMER UNION OF SOVIET SOCIALIST REPUBLICS
{In accordance with Article 29(2)(b))

Any agreement referred to in Article 29(2)(b) shall be notified in writing to the
Secretariat by or on behalf of all of the parties to such agreement which sign or

accede to this Treaty:

(a) in respect of an agreement in force as of a date three months after the date on
which the first of such parties signs or deposits its instrument of accession to

the Treaty, no later than six months after such date of signature or deposit; and

in respect of an agreement which enters into force on a date subsequent to the
date referred to in sub-paragraph (a}, sufficiently in advance of its entry into
force far other states or Regional Economic Integration Organizations which
have signed or acceded to the Treaty (hereinafter referred to as the "Interested
Parties") to have a reasonable opportunity to review the agreement and make
representations concerning it to the parties thereto and to the Charter

Conference prior to such entry into force.
The notification shall include:

(a) copies of the origina! texts of the agreement in all languages in which it has

been signed;

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a description, by reference to the items included in Annex EM, of the specific

Energy Materials and Products to which it applies;

an explanation, separately for each relevant provision of the GATT and Related
Instruments made applicable by Article 29(2)(a), of the circumstances which
make it impossible or impracticable for the parties to the agreement to conform

fully with that provision;

the specific measures to be adopted hy each party to the agreement to address

the circumstances referred to in sub-paragraph ({c); and

a description of the parties’ programmes for achieving a progressive reduction

and ultimate elimination of the agreement’s non-canforming provisions.

Parties to an agreement natified in accordance with paragraph (1) shall afford to the
Interested Parties a reasonable opportunity to consult with them with respect to such
agreement, and shall accord consideration to their representations. Upon the request
of any of the Interested Parties, the agreement shall be considered by the Charter

Conference, which may adopt recommendations with respect thereto.

The Charter Conference shall periodically review the implementation of agreements

notified pursuant to paragraph (1) and the progress having been made towards the

elimination of provisions thereof that do not conform with provisions of the GATT
and Related Instruments made applicable by Article 29(2)(a). Upon the request of
any of the Interested Parties, the Charter Conference may adopt recommendations

with respect to such an agreement.

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An agreement described in Article 29{2)(b) may in case of exceptional urgency be
allowed to enter into force without the notification and consultation provided for in
sub-paragraph (1)(b), paragraphs (2) and (3), provided that such notification takes
place and the opportunity for such consultation is afforded promptly. In such a case
the parties to the agreement shall nevertheless notify its text in accordance with

sub-paragraph (2)(a) promptly upon its entry into force.

Contracting Parties which are or become parties to an agreement described in
Article 29(2)(b) undertake to limit the non-conformities thereof with the provisions of
the GATT and Related Instruments made applicable by Article 29(2){a) to those
necessary to address the particular circumstances and to implement such an

agreement so as least to deviate from those provisions. They shall make every effort

to take remedial action in light of representations from the Interested Parties and of

any recommendations of the Charter Conference.

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11. ANNEX D

INTERIM PROVISIONS FOR TRADE DISPUTE SETTLEMENT

(In accordance with Article 29(7})

In their relations with one another, Contracting Parties shall make every effort
through cooperation and consultations to arrive at a mutually satisfactory
resolution of any dispute about existing measures that might materially affect

compliance with the provisions applicable to trade under Article 5 or 29.

A Contracting Party may make a written request to any other Contracting Party
for consultations regarding any existing measure of the other Contracting Party
that it considers might affect materially compliance with provisions applicable
to trade under Article 5 or 29. A Contracting Party which requests

consultations shall to the fullest extent possible indicate the measure

complained of and specify the provisions of Article 5 or 29 and of the GATT

and Related Instruments that it considers relevant. Requests to consult
pursuant to this paragraph shall be notitied to the Secretariat, which shall
periodically inform the Contracting Parties of pending consultations that have

been notified.

A Contracting Party shall treat any confidential or proprietary information
identified as such and contained in or received in response to a written request,
or received in the course of consultations, in the same manner in which it is

treated by the Contracting Party providing the information. —

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(d} In seeking to resolve matters considered by a Contracting Party to affect

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compliance with provisions applicable to trade under Article 5 or 29 as between
itself and another Contracting Party, the Contracting Parties participating in
consultations or other dispute settlement shall make every effart to avoid a

resolution that adversely affects the trade of any other Contracting Party.

{2} (a) If, within 60 days from the receipt of the request for consultation referred to in
sub-paragraph (1}(b}, the Contracting Parties have not resolved their dispute or
agreed to resolve it by conciliation, mediation, arbitration or other method,

either Contracting Party may deliver to the Secretariat a written request for the

establishment of a panel in accordance with sub-paragraphs (b) to (f). In its

request the requesting Contracting Party shall state the substance of the

dispute and indicate which provisions of Article 5 or 29 and of the GATT and

Related Instruments are considered relevant, The Secretariat shall promptly

deliver copies of the request to all Contracting Parties.

{b) The interests of other Contracting Parties shall be taken into account during the

resolution of a dispute. Any other Contracting Party having a substantial

interest in a matter shall have the right to be heard by the panel and to make
written submissions to it, provided that both the disputing Contracting Parties

and the Secretariat have received written notice of its interest no later than the

date of establishment of the panel, as determined in accordance with

sub-paragraph {c).

(c) A panel shall be deemed to be established 45 days after the receipt of the

written request of a Contracting Party by the Secretariat pursuant to

sub-paragraph (a).

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A panel shall be composed of three members who shall be chosen by the
Secretary-General fram the roster described in paragraph (7). Except where the
disputing Contracting Parties agree otherwise, the members of a panel shall

not be citizens of Contracting Parties which either are party to the dispute or
have notified their interest in accordance with sub-paragraph (b}, or citizens of
states members of a Regional Economic Integration Organization which either is
party to the dispute or has notified its interest in accordance with

sub-paragraph (b).

The disputing Contracting Parties shall respond within ten working days to the

nominations of panel members and shall not oppose nominations except for

compelling reasons.

Panel members shall serve in their individual capacities and shall neither seek
nor take instruction from any government or other body. Each Contracting
Party undertakes to respect these principles and not to seek to influence panel
members in the performance of their tasks. Panel members shall be selected
with a view to ensuring their independence, and that a sufficient diversity of

backgrounds and breadth of experience are reflected in a panel.

The Secretariat shall promptly notify all Contracting Parties that a panel has

been constituted.

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The Charter Conference shall adopt rules of procedure for panel proceedings

consistent with this Annex. Rules of procedure shall be as close as possible to
those of the GATT and Related Instruments. A panel shall also have the right
to adopt additional rules of procedure not inconsistent with the rules of
procedure adopted by the Charter Conference or with this Annex. Ina
proceeding before a panel each disputing Contracting Party and any other
Contracting Party which has notified its interest in accardance with
sub-paragraph (2)(b), shall have the right to at least one hearing before the
panel and to provide a written submission. Disputing Contracting Parties shall
also have the right to provide a written rebuttal. A panel may grant a request
by any other Contracting Party which has notified its interest in accordance
with sub-paragraph (2}(b} for access to any written submission made to the

panel, with the consent of the Contracting Party which has made it.

The proceedings of a panel shall be confidential. A panel shall make an
objective assessment of the matters before jt, including the facts of the dispute
and the compliance of measures with the provisions applicable to trade under
Article 5 or 29. In exercising its functions, a panel shall consult with the
disputing Contracting Parties and give them adequate opportunity to arrive at a
mutually satisfactory solution. Unless otherwise agreed by the disputing
Contracting Parties, a panel shall base its decision on the arguments and
submissions of the disputing Contracting Parties. Panels shall be guided by the
interpretations given to the GATT and Related Instruments within the
framework of the GATT, and shall not question the compatibility with Article 5
or 29 of practices applied by any Contracting Party which is a party to the
GATT to other parties to the GATT to which it applies the GATT and which
have not been taken by those other parties to dispute resolution under

the GATT.

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Unless otherwise agreed by the disputing Contracting Parties, all procedures
invelving a panel, including the issuance of its final report, should be completed

within 180 days of the date of establishment of the panel; however, a failure to

complete all procedures within this period shall not affect the validity of a final

report.

A panel shail determine its jurisdiction; such determination shal} be final and
binding. Any objection by a disputing Contracting Party that a dispute is not
within the jurisdiction of the panel shall be considered by the panel, which shall
decide whether to deal with the objection as a preliminary question or to join it

to the merits of the dispute.

In the event of two or more requests for establishment of a panel in relation to
disputes that are substantively similar, the Secretary-General may with the

consent of all the disputing Contracting Parties appoint a single panel.

After having considered rebuttal arguments, a panel shall submit to the
disputing Contracting Parties the descriptive sections of its draft written report,
including a statement of the facts and a summary of the arguments made by
the disputing Contracting Parties. The disputing Contracting Parties shall be
afforded an opportunity to submit written comments on the descriptive sections

within a period set by the panel.

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Following the date set for receipt of comments from the Contracting Parties,

the panel shall issue to the disputing Contracting Parties an interim written

report, including both the descriptive sections and the panel’s proposed

findings and conclusions, Within a period set by the panel a disputing
Contracting Party may submit to the panel a written request that the panel
review specific aspects of the interim report before issuing a final report. Before
issuing a final report the panel may, in its discretion, meet with the disputing

Contracting Parties to consider the issues raised in such a request.

The final report shall include descriptive sections (including a statement of the
facts and a summary of the arguments made by the disputing Contracting
Parties), the panel’s findings and conclusions, and a discussion of arguments
made on specific aspects of the interim report at the stage of its review. The
final report shall dea! with every substantial issue raised before the panel and
necessary to the resolution of the dispute and shall state the reasons for the

panel's conclusions.

A panel shail issue its final report by providing it promptly to the Secretariat
and to the disputing Contracting Parties. The Secretariat shall at the earliest
practicable opportunity distribute the final report, together with any written
views that a disputing Contracting Party desires to have appended, to all

Contracting Parties.

Where a panel concludes that a measure introduced or maintained by a
Contracting Party does not comply with a provision of Article 5 or 29 or witha
provision of the GATT or a Related Instrument that applies under Article 29, the
panel may recommend in its final report that the Contracting Party alter or

abandon the measure or conduct so as to be in compliance with that provision.

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Panel reports shall be adopted by the Charter Conference. In order to provide
sufficient time for the Charter Conference to consider panel reports, a report
shall not be adopted by the Charter Conference until] at least 30 days after it
has been provided to all Cantracting Parties by the Secretariat. Contracting
Parties having objections to a panel report shall give written reasons for their
objections ta the Secretariat at least 10 days prior to the date on which the
report is to be considered for adoption by the Charter Conference, and the
Secretariat shall promptly provide them to all Contracting Parties. The
disputing Contracting Parties and Contracting Parties which notified their
interest in accordance with sub-paragraph (2)(b) shall have the right to
participate fully in the consideration of the panel report on that dispute by the

Charter Conference, and their views shall be fully recorded.

In order to ensure effective resolution of disputes to the benefit of all
Contracting Parties, prompt compliance with rulings and recommendations of a
final panel report that has been adopted by the Charter Conference is essential.

A Contracting Party which is subject to a ruling or recommendation of a final

panel report that has been adopted by the Charter Conference shall inform the

Charter Conference of its intentions regarding compliance with such ruling or
recommendation. In the event that immediate compliance is impracticable, the
Contracting Party concerned shall explain its reasons for non-compliance to the
Charter Conference and, in light of this explanation, shall have a reasonable
period of time to effect compliance, The aim of dispute resolution is the

modification or removal of inconsistent measures.

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(5) (a) Where a Contracting Party has failed within a reasonable period of time to

Ie comply with a ruling or recommendation of a final panel report that has been
adopted by the Charter Conference, a Contracting Party to the dispute injured

by such non-compliance may deliver to the non-complying Contracting Party a

written request that the non-complying Contracting Party enter into
4 negotiations with a view to agreeing upon mutually acceptable compensation. If
so requested the non-complying Contracting Party shall promptly enter into

such negotiations.

{b) If the non-complying Contracting Party refuses to negotiate, or if the
Contracting Parties have not reached agreement within 30 days after delivery |
of the request for negotiations, the injured Contracting Party may make a
written request for authorization of the Charter Conference to suspend
obligations owed by it to the non-complying Contracting Party under Article 5
or 29,

(c) The Charter Conference may authorize the injured Contracting Party to suspend
such of its obligations to the nan-complying Contracting Party, under provisions
of Article 5 or 29 or under provisions of the GATT or Retated Instruments that
apply under Article 29, as the injured Contracting Party cansiders equivalent in e

the circumstances,
{d) The suspension of obligations shall be temporary and shall be applied only until

such time as the measure found to be inconsistent with Article 5 or 29 has

been removed, or until a mutually satisfactory solution is reached.

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Before suspending such obligations the injured Contracting Party shal! inform
the non-complying Contracting Party of the nature and level of its proposed
suspension. If the non-complying Contracting Party delivers to the
Secretary-General a written objection to the level of suspension of obligatians
proposed by the injured Contracting Party, the objection shall be referred to
arbitration as provided below. The proposed suspension of obligations shall be

stayed until the arbitration has been completed and the determination of the

arbitral panel has become final and binding in accordance with

sub-paragraph (e)}.

The Secretary-General shall establish an arbitral panel in accordance with
sub-paragraphs (2)(d) to (f), which if practicable shall be the same panel which
made the ruling or recommendation referred to in sub-paragraph (4)(d), to
examine the level of obligations that the injured Contracting Party proposes to
suspend. Unless the Charter Conference decides otherwise the rules of
procedure for panel proceedings shall be adopted in accordance with

sub-paragraph (3}{a).

The arbitral panel shall determine whether the level of obligations proposed to
be suspended by the injured Contracting Party is excessive in relation to the
injury it experienced, and if so, to what extent. It shall not review the nature of
the obligations suspended, except insofar as this is inseparable from the

determination of the level of suspended obligations.

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The arbitral panel shall deliver its written determination to the injured and the

non-complying Cantracting Parties and to the Secretariat within 60 days of the
establishment of the panel or within such other period as may be agreed by
the injured and the non-complying Contracting Parties. The Secretariat shall
present the determination to the Charter Conference at the earliest practicable
opportunity, and no later than the meeting of the Charter Conference following

receipt of the determination.

The determination of the arbitral panel shall become final and binding 30 days
after the date of its presentation to the Charter Conference, and any level of
suspension of benefits allowed thereby may thereupon be put into effect by the
injured Contracting Party in such manner as that Contracting Party considers
equivalent in the circumstances, unless prior to the expiratian of the 30 days

periad the Charter Conference decides otherwise.

In suspending any obligations to a non-complying Contracting Party, an injured
Contracting Party shall make every effort not to affect adversely the trade of

any other Contracting Party.

Each Contracting Party may designate two individuals who shall, in the case of
Contracting Parties which are also party to the GATT, if they are willing and able to
serve as panellists under this Annex, be panellists currently nominated for the
purpose of GATT dispute panels. The Secretary-General may also designate, with
the approval of the Charter Conference, not more than ten individuals, who are
willing and able to serve as panellists for purposes of dispute resolution in

accordance with paragraphs (2) to (4), The Charter Conference may in addition

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decide to designate for the same purposes up to 20 individuals, who serve on
dispute settlement rosters of other international bodies, who are willing and able to
serve as panellists. The names of all of the individuals so designated shall constitute
the dispute settlement roster. Individuals shall be designated strictly on the basis of
objectivity, reliability and sound judgement and, to the greatest extent possible, shall
have expertise in international trade and energy matters, in particular as relates to
provisions applicable under Article 29, In fulfilling any function under this Annex,
designees shall not be affiliated with or take instructions fram any Contracting Party.
Designees shall serve for renewable terms of five years and until their successors
have been designated. A designee whose term expires shall continue to fulfil any
function for which that individual has been chosen under this Annex. In the case of
death, resignation or incapacity of a designee, the Contracting Party or the

Secretary-General, whichever designated said designee, shall have the right to

designate another individual to serve for the remainder of that designee‘s term, the

designation by the Secretary-General being subject to approval of the Charter

Conference,

Notwithstanding the provisions contained in this Annex, Contracting Parties are
encouraged to consult throughout the dispute resolution proceeding with a view to

settling their dispute.

The Charter Canference may appoint or designate other bodies or fora to perform
any of the functions delegated in this Annex to the Secretariat and the

Secretary-General.

EECH/Annexes to Al/en 42

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12. ANNEX B

FORMULA FOR ALLOCATING CHARTER COSTS
(In accordance with Article 37(3))

Contributions payable by Contracting Parties shall be determined by the Secretariat
annually on the basis of their percentage contributions required under the latest
available United Nations Regular Budget Scale of Assessment (supplemented by
information on theoretical contributions for any Contracting Parties which are not UN

members).

The contributions shall be adjusted as necessary to ensure that the total of all

Contracting Parties’ contributions is 100%.

EECH/Annexes to At/en 43

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13. ANNEX PA
LIST OF SIGNATORIES WHICH DO NOT ACCEPT THE PROVISIONAL

APPLICATION OBLIGATION OF ARTICLE 45(3)(b)
(In accordance with Article 45(3)(c))

1. The Czech Republic

2. Germany

3. Hungary

4. Lithuania

5. Poland

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EECH/Annexes to Ail/en 44

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14. ANNEX T

CONTRACTING PARTIES’ TRANSITIONAL MEASURES

(In accordance with Article 32(1)}}

List of Contracting Parties entitled to transitional arrangements

Albania Latvia

Armenia Lithuania

Azerbaijan Moldova

Belarus Poland

Bulgaria Romania

Croatia The Russian Federation
The Czech Republic Slovakia

Estonia Slovenia

Georgia Tajikistan

Hungary Turkmenistan
Kazakhstan Ukraine

Kyrgyzstan Uzbekistan

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List of provisions subject to transitional arrangements

Provision

Article 6(2)
Article 6(5)}
Article 7(4)
Article 9(1)

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Provision

Article 10{7)
Article 14(1}(d)
Article 20(3)
Article 22(3)

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ARTICLE 6(2)

“Each Contracting Party shall ensure that within its jurisdiction it has and enforces such
laws as are necessary and appropriate to address unilateral and concerted anti-competitive

conduct in Economic Activity in the Energy Sector."

COUNTRY: ALBANIA
SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

There is no law on protection of competition in Albania. The law No 7746 of

28 July 1993 on Hydrocarbons and the law No 7796 of 17 February 1994 0n Minerals do

not include such provisions. There is no law on electricity which is in the stage of

preparation. This law is planned to be submitted to the Parliament by the end of 1996. In

these laws Albania intends to include provisions on anti-competitive conduct.

PHASE-OUT

1 January 1998.

EECH/Annexes to At/en 47

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COUNTRY: ARMENIA

SECTOR
All energy sectors.
LEVEL OF GOVERNMENT
National.
DESCRIPTION
At present a state monopoly exists in Armenia in most energy sectors. There is no law on
protection of competition, thus the rules of competition are not yet being implemented. “oer
There are no laws on energy. The draft laws on energy are planned to be submitted to the
Parliament in 1994, The laws are envisaged to include provisions on anti-competitive
behaviour, which would be harmonized with the EC legislation on competition.
PHASE-OUT
31 December 1997.
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EECH/Annexes to Al/en 48

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COUNTRY: AZERBAIJAN

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

The anti-monopoly legislation is at the stage of elaboration .

PHASE OUT

1 January 2000.

EECH/Annexes to Ail/en 49

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Filed 06/03/19

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SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

PHASE-OUT

1 January 2000,

EECH/Annexes to A1/en 50

COUNTRY: BELARUS

Anti-monopoly legislation is at the stage of elaboration,

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Case 1:19-cv-01618-TSC Documenti1-6 Filed 06/03/19 Page 165 of 239 Lb/200

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COUNTRY: GEORGIA

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

Laws on demonopolization are at present at the stage of elaboration in Georgia and that is

why the State has so far the monopoly for practically all energy sources and energy

resources, which restricts the possibility of competition in the energy and fuel complex.

PHASE-OUT

1 January 1999.

EECH/Annexes to Al/en 51

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COUNTRY: KAZAKHSTAN

SECTOR

All energy sectors,

LEVEL OF GOVERNMENT

National.

DESCRIPTION

The law on Development of Competition and Restriction of Monopolistic Activities (No 656

of 11 June 1991) has been adopted, but is of a general nature. It is necessary to develap

the legislation further, in particular by means of adopting relevant amendments or adopting

a new law.

PHASE-OUT

1 January 1998.

EECH/Annexes to Al/en 52

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COUNTRY: KYRGYZSTAN

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

The law on Anti-monopoly Policies has already been adopted. The transitional period is

needed to adapt provisions of this law to the energy sector which is now strictly regulated

by the state.

PHASE-OUT

1 July 2001,

EECH/Annexes to Al/en 53

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COUNTRY: MOLDOVA

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SECTOR

All energy sectors,

LEVEL OF GOVERNMENT

National.

DESCRIPTION

The law on Restriction of Monopolistic Activities and Development of Competition of

29 January 1992 provides an organizational and Jegal basis for the development of

competition, and of measures to prevent, limit and restrict monapolistic activities; it is
oriented towards implementing market economy conditions. This law, however, does not
provide for concrete measures of anti-competitive conduct in the energy sector, nor does

it cover completely the requirements of Article 6.

In 1995 drafts of a law on Competition and a State Programme of Demonopolization of the
Economy will be submitted to the Parliament. The draft law on Energy which will be also
submitted to the Parliament in 1995 will cover issues on demanopalization and
development of competition in the energy sector.

PHASE-OUT

1 January 1998,

EECH/Annexes to At/en 54

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COUNTRY: ROMANIA

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

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The rules af competition are not yet implemented in Ramania. The draft law on
Protection af Competition has been submitted to the Parliament and is scheduled to be

adopted during 1994,

The draft contains provisions with respect to anti-competitive behaviour, harmonized with

the EC’s law on Competition.

PHASE OUT

31 December 1996.

EECH/Annexes to Al/en 55

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COUNTRY: THE RUSSIAN FEDERATION

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

The Federation.

DESCRIPTION

A comprehensive framework of anti-monopoly legislation has been created in the Russian

Federation but other legal and organizational measures to prevent, limit or suppress
monopolistic activities and unfair competition will have to be adopted and in particular in
the energy sector.

PHASE-OUT

1 July 2001.

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COUNTRY: SLOVENIA
SECTOR
All energy sectors.
LEVEL OF GOVERNMENT
National.
DESCRIPTION
Law on Protection of Competition adopted in 1993 and published in Official Journal
No 18/93 treats anti-competitive conduct generally. The existing law also provides for
conditions for the establishment of competition authorities. At present the main

competition authority is the Office of Protection of Competition in the Ministry of

Economic Relations and Development. With regard to importance of energy sector a

separate law in this respect is foreseen and thus more time for full compliance is needed.

PHASE-OUT

1 January 1998.

EECH/Annexes to At/en 57

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COUNTRY: TAJIKISTAN

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

In 1993 Tajikistan passed the law on Demonopolization and Competition. However, due

to the difficult economic situation in Tajikistan, the jurisdiction of the law has been

temporarily suspended.

PHASE-OUT

31 December 1997.

EECH/Annexes to Al/en 58

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COUNTRY: TURKMENISTAN
SECTOR
All energy sectors.
LEVEL OF GOVERNMENT
National,
DESCRIPTION
Under the Ruling of the President of Turkmenistan No 1532 of 21 October 1993 the
Committee on Restricting Monopolistic Activities has been etablished and is acting now,
the function of which is to protect enterprises and other entities from monopoly conduct

and practices and to promote the formation of market principles on the basis of the

develapment ot competition and entrepreneurship.

Further development of legislation and regulations is needed which would regulate

anti-manopoly conduct of enterprises in the Economic Activity in the Energy Sector.

PHASE-OUT

4 July 2007.

EECH/Annexes to A1/en 59

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COUNTRY: UZBEKISTAN

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

The law on Restricting Monopoly Activities has been adopted in Uzbekistan and has been

in force since July 1992. However, the law (as js specified in article 1, paragraph 3) does

not extend to the activities of enterprises in the energy sector.

PHASE-OUT

1 July 2001.

EECH/Annexes to Ai/en 60

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ARTICLE 6(5)

“If a Contracting Party considers that any specified anti-competitive conduct carried out
within the Area of another Contracting Party is adversely affecting an important interest
relevant to the purposes identified in this Article, the Contracting Party may natify the
other Contracting Party and may request that its competition authorities initiate appropriate
enforcement action. The notifying Contracting Party shall include in such notification
sufficient information to permit the notified Contracting Party to identify the
anti-competitive conduct that is the subject of the notification and shall include an offer of
such further information and cooperation as that Contracting Party is able to provide. The
notified Contracting Party or, as the case may be, the relevant competition authorities may
consult with the campetition authorities of the notifying Contracting Party and shall accord
full consideration to the request of the notifying Contracting Party in deciding whether or
not to initiate enforcement action with respect to the alleged anti-competitive conduct
identified in the notification. The notified Contracting Party shall inform the notifying
Contracting Party of its decision or the decision of the relevant competition authorities and
may if it wishes inform the notifying Contracting Party of the grounds for the decision. If
enforcement action is initiated, the notified Contracting Party shall advise the notifying
Contracting Party of its outcome and, to the extent possible, of any significant interim

development.”

EECH/Annexes to Al/en 61

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COUNTRY: ALBANIA

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

In Albania there are no established institutions to enforce the competition rules, Such

institutions will be provided for in the law on the Protection of Competition which is

planned to be finalized in 1996.

PHASE-OUT

1 January 1999,

EECH/Annexes to Al/en 62

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SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

Armenia.

establish such institutions.

PHASE-OUT

31 December 1997.

COUNTRY: ARMENIA

Institutions to enforce the provisions of this paragraph have not been established in

The laws on Energy and Protection of Competition are planned to include provisions to

EECH/Annexes to At/en 63

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COUNTRY: AZERBAIJAN

SECTOR

All eneray sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

Anti-monopoly authorities shall be established after the adoption of anti-monopoly

legislation.

PHASE-OUT

| January 2000.

EECH/Annexes to Al/en 64

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COUNTRY: BELARUS

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

Anti-monopaly authorities shall be established after the adoption of anti-monopoly

legislation.

PHASE-OUT

1 January 2000.

EECH/Annexes to At/en 65

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COUNTRY: GEQRGIA

SECTOR

All energy sectors,

LEVEL OF GOVERNMENT

National.

DESCRIPTION

Laws on demonopalization are at present at the stage of elaboration in Georgia and that is

why there are no competition authorities established yet.

PHASE-OUT

1 January 1999,

EECH/Annexes to Al/en 66

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SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

COUNTRY: KAZAKHSTAN

An Anti-monopoly Committee has been established in Kazakhstan, but its activity needs

improvement, both from legislative and organizational points of view, in order to elaborate

an effective mechanism handling the complaints on anti-competitive conduct.

PHASE-OUT

1 January 1998.

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COUNTRY: KYRGYZSTAN

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

There is no mechanism in Kyrgyzstan to control the anti-competitive conduct and the

relevant legislation. It is necessary to establish relevant anti-monopoly authorities.

PHASE-OUT

1 July 2001.

EECH/Annexes to Al/en 68

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COUNTRY: MOLDOVA
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All energy sectors.
LEVEL OF GOVERNMENT
National.
DESCRIPTION
on,
The Ministry of Economy is responsible for the control of competitive conduct in Moldova.
Relevant amendments have been made to the law on Breach of Administrative Rules,
which envisage some penalties for violating rules of competition by monopoly enterprises.
The draft law on Competition which is now at the stage of elaboration will have provisions
on the enforcement of competition rules.
PHASE-OUT
1 January 1998.
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EECH/Annexes to Alfen 69

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COUNTRY: ROMANIA

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

Institutions to enforce the provisions of this paragraph have not been established in

Romania.

The Institutions charged with the enforcement of competition rules are provided for in the

draft law on Protection of Competition which is scheduled to be adopted during 1994,

The draft also provides a period of nine months for enforcement, starting with the date of

its publication.

According to the Europe Agreement establishing an association between Romania and the

European Communities, Ramania was granted a period of five years to implement

competition rules.

PHASE OUT

1 January 1998.

EECH/Annexes to Al/en 70

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COUNTRY: TAJIKISTAN

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

Tajikistan has adopted laws on Demonopolization and Competition, but institutions to

enforce competition rules are in the stage of development.

PHASE-OUT

31 December 1997.

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(69 |2e0

COUNTRY: UZBEKISTAN

SECTOR

All energy sectors,

LEVEL OF GOVERNMENT

National.

DESCRIPTION

The law on Restricting Monopoly Activities has been adopted in Uzbekistan and has been

in force since July 1992. However, the law {as is specified in article 1, paragraph 3} does

not extend to the activities of the enterprises in the energy sector.

PHASE-OUT

J July 2001.

EECH/Annexes to Al/en 72

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ARTICLE 7(4)

"In the event that Transit of Energy Materials and Products cannot be achieved on
commercial terms by means of Energy Transport Facilities the Contracting Parties shall not
place obstacles in the way of new capacity being established, except as may be otherwise

provided in applicable legislation which is consistent with paragraph (1).”

COUNTRY: AZERBAIJAN

SECTOR

All energy sectors,

LEVEL OF GOVERNMENT

National.

DESCRIPTION

It is necessary to adopt a set of laws on energy, including licensing procedures regulating

transit. During a transition period it is envisaged to build and modernize power

transmission lines, as well as generating capacities with the aim of bringing their technical

level to the world requirements and adjusting to conditions of a market economy.

PHASE OUT

31 December 1999.

EECH/Annexes to At/en 73

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(64 [220

COUNTRY: BELARUS

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

Laws on energy, land and other subjects are being worked out at present, and until their

final adoption, uncertainty remains as to the conditions tor establishing new transport

capacities for energy carriers in the territory of Belarus.

PHASE-OUT

31 December 1998.

EECH/Annexes to Ai/en 74

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COUNTRY: BULGARIA

SECTOR

All energy sectors,

LEVEL OF GOVERNMENT

National.

DESCRIPTION

Bulgaria has no laws regulating Transit of Energy Materials and Products. An overall

restructuring is ongaing in the energy sector, including development of institutional

framework, legislation and regulation.

PHASE-OUT

The transitional period of 7 years is necessary to bring the legislation concerning the

Transit of Energy Materials and Products in full compliance with this provision,

1 July 2001.

EECH/Annexes ta At1/en 75

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COUNTRY: GEORGIA
SECTOR
All energy sectors.
LEVEL OF GOVERNMENT
National.
DESCRIPTION
It is necessary to prepare a set of laws on the matter. At present there are substantially
different conditions for the transport and transit of various energy sources in Georgia
(electric power, natural gas, oi] products, coal).

PHASE-OUT

1 January 1999.

EECH/Annexes to Al/en 76

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COUNTRY: HUNGARY

SECTOR

Electricity industry.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

According te the current legislation establishment and operation of high-voltage

transmission lines is a state monopaly.

The creation of the new legal and regulatory framework for establishment, operation and

ownership of high-voltage transmission lines is under preparation.

The Ministry of Industry and Trade has already taken the initiative to put forward a new
Act an Electricity Power, that will have its impact also on the Civil Cade and on the Act on
Concession. Compliance can be achieved after entering in force of the new law on
Electricity and related regulatory decrees.

PHASE-OUT

31 December 1996.

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COUNTRY: POLAND

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

Palish taw on Energy, being in the final stage of coordination, stipulates for creating new

legal regulations similar to those applied by free market countries (licenses to generate,
transmit, distribute and trade in energy carriers). Until it is adopted by the Parliament a
temporary suspension of obligations under this paragraph is required.

PHASE-OUT

31 December 1995.

EECH/Annexes to Al/en 78

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ARTICLE 9(1)

"The Contracting Parties acknowledge the importance of open capital markets in
encouraging the flow of capital to finance trade in Energy Materials and Products and for
the making of and assisting with regard to Investments in Economic Activity in the Energy

Sector in the Areas of other Contracting Parties, particularly those with economies in

transition. Each Contracting Party shall accardingly endeavour to promote conditions for

access to its capital market by companies and nationals of other Contracting Parties, for
the purpose of financing trade in Energy Materials and Products and for the purpose of
Investment in Economic Activity in the Energy Sector in the Areas of those other
Contracting Parties, on a basis no less favourable than that which it accords in like
circumstances to its own companies and nationals or companies and nationals of any

other Contracting Party or any third state, whichever is the most favourable."

COUNTRY: AZERBAIJAN
SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

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DESCRIPTION

Relevant legislation is at the stage of elaboration,

PHASE-OUT

1 January 2000.

COUNTRY: BELARUS

SECTOR

AJl energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

Relevant legislation is at the stage of elaboration.

PHASE-OQUT

1 January 2000.

EECH/Annexes to Al/en 80

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COUNTRY: GEORGIA

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

Relevant legislation is at the stage of preparation.

PHASE-OUT

1] January 1997.

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COUNTRY: KAZAKHSTAN 4 eo
SECTOR
All energy sectors.
LEVEL OF GOVERNMENT
National,

DESCRIPTION

The bill on Foreign Investments is at the stage of authorization approval with the aim to

adopt it by the Parliament in autumn 1994. —

PHASE-OUT

1 July 2001.

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EECH/Annexes to Al/en 82

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COUNTRY: KYRGYZSTAN

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

Relevant legistation is currently under preparation.

PHASE-OUT

1 July 2001,

EECH/Annexes to A1/en 83

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ARTICLE 10(7) - SPECIFIC MEASURES

"Each Contracting Party shall accord to Investments in its Area of Investors of another
Contracting Party, and their related activities including management, maintenance, use,
enjoyment or disposal, treatment no less favourable than that which it accords to
Investments of its own Investors os of the Investors of any other Cantracting Party or any
third state and their related activities including management, maintenance, use, enjoyment

or disposal, whichever is the most favourable.”

COUNTRY: BULGARIA
SECTOR
All energy sectors.
LEVEL OF GOVERNMENT
National,
DESCRIPTION

Foreign persons may not acquire property rights over land. A company with more than

fifty per cent of foreign person's share may not acquire property right over agricultural

land;

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Foreigners and foreign legal persons may not aquire property rights over land except by

way of inheritance according to the law. In this case they have to make it over;

A foreign person may aquire property rights over buildings, but without property rights

over the land;

Foreign persons or companies with foreign controlling participation must obtain a permit

before performing the following activities:

exploration, development and extraction of natural resources from the territorial sea,

continental shelf or exclusive economic zone;

acquisition of real estate in geographic regions designated by the Cauncil of Ministers.

The permits are issued by the Council of Ministers or by a body authorized by the

Council of Ministers.

PHASE-OUT

1 July 2007.

EECH/Annexes to A1/en 85

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ARTICLE 14(1}{d)

"Each Contracting Party shall with respect to Investments in its Area of Investors of any
other Contracting Party guarantee the freedom of transfer into and out of its Area,

including the transfer of:

unspent earnings and other remuneration of personnel engaged from abroad in connection

with that Investment:"

COUNTRY: BULGARIA

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

see

EECH/Annexes to Ai/en 86

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DESCRIPTION

Foreign nationals employed by companies with more than 50 per cent of foreign

Participation, or by a foreign person registered as sole trader or a branch or a

representative office of a foreign company in Bulgaria, receiving their salary in Bulgarian

leva, may purchase foreign currency not exeeding 70 per cent of their salary, including

social security payments.

PHASE-OUT

1 July 2001.

COUNTRY: HUNGARY

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

EECH/Annexes to Al/en 87

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DESCRIPTION : al

According to the Act on Investments of Foreigners in Hungary, article 33, foreign top

managers, executive managers, members of the Supervisory Board and foreign employees

may transter their income up to 50 per cent of their aftertax earnings derived from the

company of their employment through the bank of their company.

PHASE-OUT

The phase out of this particular restriction depends on the progress Hungary is able to
make in the implementation of the foreign exchange liberalization programme whose final
target is the full canvertibility of the Forint. This restriction does nat create barriers to

foreign investors. Phase-out is based on stipulations of Article 32.

1 Jufy 2001.

EECH/Annexes to Al/en 88

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ARTICLE 20/3)

“Each Contracting Party shall designate ane or more enquiry points to which requests far

information about the above mentioned laws, regulations, judicial decisions and
administrative rulings may be addressed and shall communicate promptly such designation

to the Secretariat which shall make it available on request.”

EECH/Annexes to Al/en 89

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COUNTRY: ARMENIA

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

In Armenia there are no official enquiry points yet to which requests for information about

the relevant laws and other regulations could be addressed. There is no information centre

either. There is a plan to establish such a centre in 1994-1995. Technical assistance is

required.

PHASE-OUT

31 December 1996.

EECH/Annexes to At/en 90

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COUNTRY: AZERBAIJAN
SECTOR
All energy sectors.
LEVEL OF GOVERNMENT
National.

DESCRIPTION

There are no official enquiry points so far in Azerbaijan to which requests for information

about relevant laws and regulations could be addressed. At present such information is

concentrated in various organizations.

PHASE OUT

31 December 1997.

EECH/Annexes to Al/en 91

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COUNTRY: BELARUS

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

Official enquiry offices which could give information on laws, regulations, judicial decisions

and administrative rulings do not exist yet in Belarus. As far as the judicial decisions and

administrative rulings are concerned there is no practice of their publishing.

PHASE-OUT

31 December 1998.

EECH/Annexes to At/en 92

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COUNTRY: KAZAKHSTAN

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

The process of establishing enquiry points has begun. As far as the judicial decisions and

administrative rulings are concerned they are not published in Kazakhstan (except for some

decisions made by the Supreme Court}, because they are not considered to be sources of

law. To change the existing practice will require a long transitional period.

PHASE-OUT

1 July 2001.

EECH/Annexes to Al/en 93

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COUNTRY: MOLDOVA

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

lt is necessary to establish enquiry points.

PHASE-OUT

31 December 1995.

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COUNTRY: THE RUSSIAN FEDERATION

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

The Federation and the Republics constituting Federation.

DESCRIPTION

No official enquiry points exist in the Russian Federation as of now to which requests for

information about relevant laws and other regulation acts could be addressed. As far as

the judicial decisions and administrative rulings are concerned they are not considered to

be sources of law.

PHASE-OUT

31 December 2000.

EECH/Annexes to Al/en 95

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COUNTRY: SLOVENIA

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National,

DESCRIPTION

In Slovenia there are no official enquiry points yet to which requests for information about

relevant laws and other regulatory acts could be addressed. At present such information

is available in various ministries. The Law on Foreign Investments which is under

preparation foresees establishment of such an enquiry point.

PHASE-OUT

1 January 1998.

EECH/Annexes to Ai/en 96

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COUNTRY: TAJIKISTAN
SECTOR
All energy sectors.
LEVEL OF GOVERNMENT
National.
DESCRIPTION
There are no enquiry points yet in Tajikistan ta which requests for information about
relevant laws and other regulations could be addressed. It is only a question of having
available funding.

PHASE-OUT

31 December 1997.

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EECH/Annexes to Al/en 97

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COUNTRY: UKRAINE

SECTOR

All energy sectors.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

Improvement of the present transparency of laws up to the level of international practice is

required. Ukraine will have to establish enquiry points providing information about laws,

regulations, judicial decisions and administrative rulings and standards of general

application.

PHASE-OUT

1 January 1998.

EECH/Annexes to A1l/en 98

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ARTICLE 22(3)

"Each Contracting Party shall ensure that if it establishes or maintains a state entity and

entrusts the entity with regulatory, administrative or other governmental authority, such
entity shall exercise that authority in a manner consistent with the Contracting Party’s

obligations under this Treaty”.

COUNTRY: THE CZECH REPUBLIC

SECTOR

Uranium and nuclear industries.

LEVEL OF GOVERNMENT

National.

DESCRIPTION

In order to deplete uranium ore reserves that are stocked by Administration of State

Material Reserves, no imports of uranium ore and concentrates, including uranium fuel

bundles containing uranium of non-Czech origin, will be licensed.

PHASE-OUT

1 July 2001.

EECH/Annexes to A1/en 99

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EUROPEAN ENERGY CHARTER CONFERENCE

DECISIONS WITH RESPECT TO THE
ENERGY CHARTER TREATY

EECH/A2/en 1

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DECISIONS WITH RESPECT TO THE ENERGY CHARTER TREATY

The European Energy Charter Conference has adopted the following Decisions:

1. With respect to the Treaty as a whole

In the event of a conflict between the treaty concerning Spitsbergen of 9 February
1920 {the Svalbard Treaty) and the Energy Charter Treaty, the treaty concerning
Spitsbergen shall prevail to the extent of the conflict, without prejudice to the
positions of the Contracting Parties in respect of the Svalbard Treaty. In the event of

such conflict or a dispute as to whether there is such conflict or as to its extent,

Coy Article 16 and Part V of the Energy Charter Treaty shall not apply.
2. With respect to Article 10{7)
The Russian Federation may require that companies with foreign participation obtain
legislative approval for the leasing of federally-owned property, provided that the
Russian Federation shall ensure without exception that this process is not applied in
a manner which discriminates arnong Investments of Investors of other Contracting
Parties.
3. With respect to Article 14 (*)
eo (1) The term "freedom of transfer” in Article 14(1) does not preclude a Contracting
Party (hereinafter referred to as the ®Limiting Party") from applying restrictions
on movement of capital by its own Investors, provided that:
(*) See footnote to Decision No 3 on page be
fon EECH/A2/en 3

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such restrictions shall not impair the rights granted under Article 14(1) to

Investors of other Contracting Parties with respect to their Investments;

such restrictions do not affect Current Transactions; and

the Contracting Party ensures that Investments in its Area of the
Investors of all other Contracting Parties are accorded, with respect to
transfers, treatment no less favourable than that which it accords to
Investments of Investors of any other Contracting Party or of any third

state, whichever is the most favourable.

This Decision shall be subject to examination by the Charter Conference five
years after entry into force of the Treaty, but not later than the date envisaged
in Article 32(3).

No Contracting Party shall be eligible to apply such restrictions uniess it is a
Contracting Party which is a state that was a constituent part of the former
Union of Soviet Socialist Republics, which has notified the provisional

Secretariat in writing no later than 1 July 1995 that it elects to be eligible to

apply restrictions in accordance with this Decision.
For the avoidance of doubt, nothing in this Decision shall derogate, as concerns

Article 16, from the rights hereunder of a Contracting Party, its Investors or

their Investments, or from the obligations of a Contracting Party.

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For the purposes of this Decision:

“Current Transactions” are current payments connected with the movement of
goods, services or persons that are made in accordance with normal
international practice, and do not include arrangements which materially
constitute a combination of a current payment and a capital transaction, such
as deferrals of payments and advances which is meant to circumvent
respective legislation of the Limiting Party in the field.

4. With respect to Article 14(2]

Without prejudice to the requirements of Article 14 and its other international
obligations, Romania shall endeavour during the transition to full convertibility of its
national currency to take appropriate steps to improve the efficiency of its
procedures for the transfers of Investment Returns and shall in any case guarantee
such transfers in a Freely Convertible Currency without restriction or a delay
exceeding six months. Romania shall ensure that Investments in its Area of the
Investors of all other Contracting Parties are accorded, with respect to transfers,
treatment no less favourable than that which it accords to Investments of Investors
of any other Contracting Party or of any third state, whichever is the most

favourable.

5. With respect to Articles 24(4)(a) and 25

An Investment of an Investor referred to in Article 1(7)(a}{il), of a Contracting Party
which is not party to an ElA or a member of a free-trade area or a customs union,
shall be entitled to treatment accorded under such EIA, free-trade area or customs

union, provided that the Investment:

EECH/A2/en 5

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has its registered office, central administration or principal place of business in i
the Area of a party to that EIA or member of that free-trade area or customs

union; or
in case it only has its registered office in that Area, has an effective and
continuous link with the economy of one of the parties to that EIA or member

of that free-trade area or customs union.

Footnote to Decision No 3

* This Decision has been drafted in the understanding that Contracting Parties which
intend to avail themselves of it and which also have entered into Partnership and

Cooperation Agreements with the European Communities and their Member States

containing an article disapplying those Agreements in favour of the Treaty, will
exchange letters of understanding which have the legal effect of making Article 16 of
the Treaty applicable between them in relation to this Dacision. The exchange of letters
shall be completed in good time prior to signature.

EECH/A2/en 6

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Lisboa, 26 Ag te —

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